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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF GEORGIA
                                  MACON DIVISION


 UNITED STATES OF AMERICA and THE
 STATE OF GEORGIA, ex rel. BROOK                                    Civil Action No.:
 GONITE,
                                                                  5:19-cv-00246-MTT
        Plaintiff,
                                                             JURY TRIAL DEMANDED
        v.

 UNITEDHEALTHCARE OF GEORGIA, INC.;
 UNITEDHEALTH GROUP, INC.; UNITED
 HEALTHCARE SERVICES, INC.;
 UNITEDHEALTHCARE, INC.; OPTUM,
 INC.; and OPTUM, SERVICES, INC.,

        Defendants.


                                  AMENDED COMPLAINT

       COMES NOW Plaintiff Brook Gonite (“Relator”), on behalf of the United States of

America and the State of Georgia, and files this amended qui tam action against Defendants

UnitedHealthcare of Georgia, Inc., UnitedHealth Group, Inc., United Healthcare Services, Inc.,

UnitedHealthcare, Inc., Optum, Inc., and Optum Services, Inc. (collectively, “UnitedHealth

Defendants”) to recover all damages, penalties, and other remedies under the False Claims Act, 31

U.S.C. §§ 3729 et seq. (“FCA”) and the Georgia False Medicaid Claims Act, O.C.G.A. §§ 49-4-

168 et seq. (“Georgia FMCA”).

                                      INTRODUCTION

       1.      The Medicare Program consists of four parts: Part A covers inpatient care, Part B

covers outpatient care, Part C is the Medicare Advantage Program, and Part D covers prescription

drugs. If a Medicare beneficiary chooses to be covered under what is commonly referred to as

“traditional” Medicare (Parts A and B), then the Centers for Medicare and Medicaid Services


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(“CMS”) reimburse healthcare providers for services rendered to the beneficiary via submission

of claims, which is known as a fee-for-service payment system. If instead, a Medicare beneficiary

chooses to enroll in a Medicare Advantage Plan managed by a private insurance company under

Part C, CMS pays the Medicare Advantage Plan a set capitation payment for the complete care of

the beneficiary, starting as soon as the beneficiary enrolls in the Medicare Advantage Plan, and the

beneficiary, depending on his income level and Medicaid status, pays a monthly premium and

copayment. See Subchapter XVIII of the Social Security Act, 42 U.S.C. §§ 1395w-21 to 1395w-

28. This case is about the UnitedHealth Defendants’ direct fraud on Medicare Part C and the

Georgia Medicaid program.

        2.      The UnitedHealth Defendants, the largest Medicare Advantage provider in the

country, generated fraudulent Medicare Part C business at the Government’s expense and to the

detriment of its competitors in Georgia and in numerous other states by using improper and illegal

means to solicit vulnerable, elderly patients for its Medicare Advantage Institutional Special Needs

Plans (“ISNPs”) and by paying kickbacks to Skilled Nursing Facilities (“SNFs”) to obtain illegal

referrals of their residents to the ISNPs.

        3.      The kickbacks took various forms, including, for example, requiring the SNFs to

refer their residents for enrollment in the ISNPs as a condition of participation in the UnitedHealth

Defendants’ provider network and offering to pay and paying additional fees through incentive

programs and implementation payments.

        4.      The UnitedHealth Defendants also required the SNFs that participated in the ISNPs

to engage in unlawful and improper marketing efforts on the UnitedHealth Defendants’ behalf to

illegally steer their residents to the ISNP.




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       5.       Medicare was not the only Government program harmed by these illegal marketing

practices and kickbacks. The UnitedHealth Defendants’ improper and illegal marketing tactics also

harmed the Georgia Medicaid program since the Medicaid program paid the Medicare Advantage

Plan premiums for illegally targeted Medicaid members, who met certain income-level

requirements.

       6.       The UnitedHealth Defendants’ improper and illegal solicitation of vulnerable,

elderly patients violated the Health Insurance Portability and Accountability Act of 1996

(“HIPAA”), Medicare regulations regarding marketing, and Georgia Medicaid policies that

prohibit obtaining a list of Medicaid patients.

       7.       The UnitedHealth Defendants’ offering and payment of kickbacks violated the

Anti-Kickback Statute. The Anti-Kickback Statute plays an essential role in ensuring Medicare,

Medicaid, and other federal healthcare programs pay only for goods and services selected

specifically to meet a patient’s individual medical needs and not for goods or services ordered by

parties seeking to enrich themselves at taxpayers’ expense. The Anti-Kickback Statute (“AKS”)

also protects the federal healthcare programs from patient steering and unfair competition among

providers, such as the Medicare Advantage Organizations (“MAOs”) that sell these Part C plans.

       8.       One purpose of the UnitedHealth Defendants’ offering and provision of kickbacks

to the SNFs was to induce the SNFs to provide referrals, or leads, of its residents to the

UnitedHealth Defendants’ ISNPs in violation of the AKS, 42 U.S.C. §1320a-7b(b)(2). The

UnitedHealth Defendants even required the SNFs’ referral of patients to the ISNPs in order for the

contracts with the SNFs to go into effect.

       9.       UnitedHealth Defendants’ improper marketing and the kickbacks fundamentally

deprived vulnerable, elderly patients from a choice about their medical care. If the Government




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had known these vulnerable patients had enrolled in the ISNPs as a result of the UnitedHealth

Defendants’ improper marketing and the kickbacks, the Medicare program would not have paid

the monthly capitated payments for these members to the UnitedHealth Defendants, and the

Medicaid program would not have paid the illegally solicited beneficiaries’ premiums.

Compliance with the applicable legal requirements, including the AKS and marketing regulations,

was material to the government’s decision to pay the UnitedHealth Defendants the monthly

capitated payments for the enrolled beneficiaries’ care.

       10.       Soliciting vulnerable, elderly patients for Medicare Advantage ISNPs through

HIPAA violations and otherwise employing improper marketing tactics including paying

kickbacks go to the very essence of the bargain between the Government and the Medicare

Advantage Plans -- Medicare pays the capitated payments and Medicaid pays certain members’

premiums to Medicare Advantage Plans to benefit eligible beneficiaries, not to subject their

vulnerable, elderly beneficiaries to exploitation, illegal conduct, and abusive marketing practices

and kickbacks.

       11.       As a result of Defendants’ fraudulent scheme, patients are steered to Defendants’

ISNPs not based on what is best for the patient and not as a result of the free market of competition

among Medicare Part C providers, but instead based on what is best for enriching the UnitedHealth

Defendants and the SNFs involved in the fraudulent scheme at the expense of taxpayers.

       12.       Once the UnitedHealth Defendants had enrolled patients in the ISNPs based on its

illegal marketing activity and kickbacks, the UnitedHealth Defendants began submitting monthly

claims to the Medicare Advantage program for these beneficiaries. Therefore, evidence of an

enrollment in an ISNP constitutes evidence that Defendants submitted a claim for the beneficiary’s

care under the FCA.




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       13.     The UnitedHealth Defendants have actual knowledge that they are engaging in

illegal misconduct, including knowledge that their marketing practices were illegal under

Medicare regulations, Medicaid policies, and HIPAA, or recklessly disregarded these legal

requirements. Defendants also knowingly and willfully violated the AKS. Defendants have

chosen to profit by committing this fraud against the Government Programs instead of following

legal practices for marketing its Medicare Advantage ISNPs.

       14.     Furthermore, if the government had known the UnitedHealth Defendants’

certifications and promises that it would comply with the FCA, the AKS, and Medicare’s

marketing regulations were false, the government would not have agreed to the contract with the

UnitedHealth Defendants to provide the ISNP and would not have paid UnitedHealth Defendants

pursuant to that contract. Thus, the UnitedHealth Defendants’ yearly contract with CMS was a

result of fraudulent inducement.

       15.     Therefore, as a direct and foreseeable result of its illegal marketing conduct and

illegal kickback scheme, the UnitedHealth Defendants have knowingly submitted and caused to

be submitted numerous false claims to the Medicare Advantage program and the Georgia Medicaid

program.

                                JURISDICTION AND VENUE

       16.     This action arises under the FCA, as amended, 31 U.S.C. §§ 3729 et seq., and the

Georgia False Medicaid Claims Act, O.C.G.A. §§ 49-4-168 et seq.

       17.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 (federal question jurisdiction). In addition, the False Claims Act specifically confers

jurisdiction upon the United States District Court. See 31 U.S.C. § 3732(a).

       18.     Supplemental jurisdiction for counts related to the Georgia False Medicaid Claims

Act arises under 28 U.S.C. § 1367, since these claims are so related to the federal claims that they


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form part of the same case or controversy under Article III of the United States Constitution. In

addition, 31 U.S.C. § 3732(b) provides jurisdiction for “any action brought under the laws of any

state for the recovery of funds paid by a State or local government if the action arises from the

same transaction or occurrence as an action brought under section 3730.” The state claims at issue

here arise out of the same transaction or occurrence as the federal claims.

       19.     Additionally, Defendants are subject to personal jurisdiction and venue in this

Court where “one defendant can be found, resides, transacts business, or in which any act

proscribed by section 3729 occurred.” 31 U.S.C. § 3732(a). Accordingly, jurisdiction and venue

are appropriate because, among other reasons, Defendants can be found, maintain offices, transact

business, and reside in the Middle District of Georgia. In addition, acts proscribed by 31 U.S.C. §

3729 occurred in the Middle District of Georgia. Furthermore, venue is proper in this District

under 28 U.S.C. § 1391 and 31 U.S.C. § 3732(a).

       20.     Relator has direct and independent knowledge of the information on which the

allegations are based and has voluntarily provided disclosure of the allegations of this Complaint

to the United States of America and the State of Georgia prior to filing, as required by the relevant

statutes. None of the allegations set forth in this Complaint are based on a public disclosure of

allegations or transactions as defined in 31 U.S.C. §3730(e)(4)(A). Furthermore, if there has been

a public disclosure of any of the allegations underlying this action, Relator qualifies as an original

source of such information, pursuant to 31 U.S.C. §3730(e)(4)(B).

                                             PARTIES

       21.      Plaintiff Relator is an individual and citizen of the United States of America and

the State of Georgia, currently residing in Marietta, Georgia. He was previously a Georgia-

licensed insurance agent (License Number 816549). Relator began his career in the health




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insurance industry as an Enrollment Counselor, Medicare Inside Sales Representative, and

Supervisor for Inside Sales for PacificCare, which the UnitedHealth Defendants later acquired,

and Ovations, which sold the UnitedHealth Defendants’ Medicare products. After starting in data

entry, Relator worked his way up within the company over his ten-year career. He left the

company in 2013, because he did not want to relocate. In June 2015, Relator returned to the

UnitedHealth Defendants, working in a part-time position in telesales for three months until being

offered a full-time job as a Sales Implementation Manager out of their office in Norcross, Georgia.

As a Sales Implementation Manager, Relator was responsible for executing new facility

implementation plans to sell ISNPs in skilled nursing facilities throughout Georgia, and he

received a Champion of Excellence Award in 2015, 2016, and 2017. Relator was paid by Optum

Services, Inc. The UnitedHealth Defendants terminated his employment in August 2018.

         22.   Relator’s direct and firsthand knowledge of the fraudulent activity discussed herein

began in 2016, when James Rodgers became the Director of Sales across several states including

Georgia. To Relator’s knowledge and belief, Defendants’ fraudulent conduct continued after he

left and expanded beyond Georgia to other states where the UnitedHealth Defendants marketed

ISNPs.

         23.   During his time working for the UnitedHealth Defendants, Relator personally

witnessed and gained direct and independent knowledge of the information on which the below

allegations are based, and Relator herein voluntarily discloses such information to the Government

pursuant to 31 U.S.C. § 3730(e)(4)(B)(i). To the extent any of Relator’s allegations have been

publicly disclosed as contemplated by 31 U.S.C. § 3730(e)(4)(A), Relator’s knowledge is

independent of and materially adds to those allegations pursuant to 31 U.S.C. § 3730(e)(4)(B)(ii).




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         24.   Defendant UnitedHealthcare of Georgia, Inc. is a Georgia for-profit corporation

with its main office located at 2100 Riveredge Parkway, Suite 400, Atlanta, Georgia 30328.

Defendant UnitedHealthcare of Georgia, Inc. transacts business in the Middle District of Georgia

and the state of Georgia by offering and providing Medicare Advantage ISNPs and other Medicare

Advantage plans.     Defendant UnitedHealthcare of Georgia, Inc. can be served through its

registered agent, C T Corporation System, located at 289 S. Culver Street, Lawrenceville, Georgia

30046.

         25.   Defendant UnitedHealth Group, Inc. is a publicly traded Delaware corporation. It

is the parent company of the other Defendants in this action. Defendant UnitedHealth Group, Inc.,

the other Defendants, and their affiliates have offices in various locations throughout the United

States, including in the Middle District of Georgia. Defendant UnitedHealth Group, Inc. offers a

broad spectrum of products and services through two distinct primary direct corporate subsidiaries

(each of which has numerous direct and indirect subsidiaries of its own): (1) UnitedHealthcare,

Inc., a health benefits (i.e., insurance) company; and (2) Optum, Inc., a health services company.

Accordingly, Defendant UnitedHealth Group, Inc.’s healthcare insurance products, including

those under Parts C of the Medicare Program, are offered by, and Defendant UnitedHealth Group,

Inc.’s Medicare Advantage Plans are managed by, various entities that are Defendant UnitedHealth

Group, Inc.’s direct or indirect subsidiaries, including, but not limited to, the other Defendants

identified herein.   Defendant UnitedHealth Group, Inc. controls these entities.       Defendant

UnitedHealth Group, Inc. can be served through its registered agent, The Corporation Trust

Company, located at Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801.

         26.   Defendant United Healthcare Services, Inc. is a for-profit Minnesota corporation

and a direct or indirect subsidiary of Defendant UnitedHealth Group, Inc. United Healthcare




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Services, Inc.’s main office is located at UnitedHealth Group Center, 9900 Bren Road East,

Minnetonka, MN 55343. Defendant United Healthcare Services, Inc. transacts business in the

Middle District of Georgia and the state of Georgia by offering and providing Medicare Advantage

ISNPs. Defendant United Healthcare Services, Inc. can be served through its registered agent, C

T Corporation System, 289 S Culver Street, Lawrenceville, Georgia 30046.

       27.     Defendant UnitedHealthcare, Inc. is a for-profit corporation registered in Delaware.

Defendant UnitedHealthcare, Inc. transacts business in the Middle District of Georgia and the state

of Georgia by offering and providing Medicare Advantage ISNPs and other Medicare Advantage

plans to Medicare beneficiaries located in the Middle District and State of Georgia.

UnitedHealthcare, Inc. directly or indirectly owns the Medicare Advantage Organizations

(“MAOs”) that offer Defendants’ ISNPs and other MA plans throughout the United States.

UnitedHealthcare Inc. manages these MAOs. Defendant UnitedHealthcare, Inc. can be served

through its registered agent, The Corporation Trust Company, located at Corporation Trust Center,

1209 Orange Street, Wilmington, Delaware 19801.

       28.     Defendant Optum, Inc. is a health services company registered in Delaware. It is a

direct or indirect subsidiary of Defendant UnitedHealth Group, Inc. Defendant Optum, Inc.

provides services in the Middle District of Georgia and the state of Georgia related to the Medicare

Advantage ISNPs offered by Defendant UnitedHealth Group and its affiliates, including

UnitedHealthcare of Georgia, Inc. Defendant UnitedHealth Group, Inc. can be served through its

registered agent, The Corporation Trust Company, located at Corporation Trust Center, 1209

Orange Street, Wilmington, Delaware 19801.

       29.     Defendant Optum Services, Inc. is another direct or indirect subsidiary of

UnitedHealth Group, Inc. Defendant Optum, Inc. provides services in the Middle District of




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Georgia and the state of Georgia related to the Medicare Advantage ISNPs offered by Defendant

UnitedHealth Group and its affiliates, including UnitedHealthcare of Georgia, Inc. Relator Gonite

was paid by Defendant Optum Services, Inc. Defendant Optum Services, Inc.’s principal address

is 11000 Optum Circle, Eden Prairie, Minnesota 55344. Defendant Optum Services, Inc. can be

served through its registered agent C. T. Corporation System located at 289 S. Culver Street,

Lawrenceville, Georgia 30046.

       30.    The UnitedHealth Defendants are directly and vicariously liable for the actions and

omissions of its executives, employees, and agents, including but not limited to any of its

subsidiaries such as Optum, Inc.

      31.     The UnitedHealth Defendants are also vicariously liable for the acts and omission

of Defendant Optum, Inc., which the UnitedHealth Defendants control as its sole corporate

member. The UnitedHealth Defendants exercise a controlling influence over the operations,

policies, compliance programs, and leadership and staff of Optum, Inc.

                                          THE LAW

   A. The False Claims Act

       32.    During all times relevant to the facts of this case, the FCA provides in pertinent

part that:

              (a) any person who - - (A) knowingly presents, or causes to be
              presented, a false or fraudulent claim for payment or approval; (B)
              knowingly makes, uses, or causes to be made or used, a false record
              or statement material to a false or fraudulent claim; . . . (G)
              knowingly makes, uses, or causes to be made or used, a false record
              or statement material to an obligation to pay or transmit money or
              property to the Government, or knowingly conceals or knowingly
              and improperly avoids or decreases an obligation to pay or transmit
              money or property to the Government,

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               is liable to the United States Government for a civil penalty of not
               less than $5,500.00 and not more than $10,000.00, as adjusted by
               the Federal Civil Penalties Inflation Adjustment Act of 1990 (28
               U.S.C. 2461 Note; Public Law 104-410), plus three times the
               amount of damages which the Government sustains because of the
               act of that person.

                                              ****

               (b) . . . For purposes of this section (1) the terms “knowing” and
               “knowingly” (A) mean that a person, with respect to information (i)
               has actual knowledge of the information; (ii) acts in deliberate
               ignorance of the truth or falsity of the information; or (iii) acts in
               reckless disregard of the truth or falsity of the information; and (B)
               require no proof of specific intent to defraud; (2) the term “claim”
               (A) means any request or demand, whether under contract or
               otherwise, for money or property and whether or not the United
               States has title to the money or property, that (i) is presented to an
               officer, employee, or agent of the United States; or (ii) is made to a
               contractor, grantee, or other recipient, if the money or property is to
               be spent or used on the Government’s behalf or to advance a
               Government program or interest, and if the United States
               Government (I) provides or has provided any portion of the money
               or property requested or demanded; or (II) will reimburse such
               contractor, grantee, or other recipient for any portion of the money
               or property which is requested or demanded; . . . (3) the term
               “obligation” means an established duty, whether or not fixed, arising
               from an expressed or implied contractual, grantor-grantee, or
               licensor-licensee relationship, from a fee-based or similar
               relationship, from statute or regulation, or from the retention of any
               overpayment; and (4) the term “material” means having a natural
               tendency to influence, or be capable of influencing, the payment or
               receipt of money or property.

31 U.S.C. § 3729 (2009).

       33.     A claim submitted to the government for a Medicare Part C capitated payment is a

claim submitted to the United States.

       34.     Section 6402(a) of the Patient Protection and Affordable Care Act of 2010

(Enhanced Medicare and Medicaid Program Integrity Provisions), Pub. L. No. 111-148, 124 Stat.

119, 753-56 (2010), amended the Social Security Act to add a new provision that addresses what

constitutes an overpayment under the FCA in the context of a federal healthcare program, like the


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Medicare Advantage Program at issue in this case. 42 U.S.C. § 1320a-7k(d). Under this provision,

an overpayment is defined as “any funds that a person receives or retains under Title XVIII or XIX

to which the person, after applicable reconciliation is not entitled.” 42 U.S.C. § 1320a-7k(d)(4)(B).

       35.     Overpayments must be reported and returned within 60 days after the date on which

the overpayment was identified. 42 U.S.C. § 1320a-7k(d)(2). An overpayment retained more than

60 days becomes an “obligation” for purposes of the FCA. 42 U.S.C. § 1320a-7k(d)(3).

   B. The Georgia False Medicaid Claims Act

       36.     The Georgia False Medicaid Claims Act, O.C.G.A. §§ 49-4-168, et seq., imposes

liability on any person who:

               (1) Knowingly presents or causes to be presented to the Georgia
               Medicaid program a false or fraudulent claim for payment or
               approval;

               (2) Knowingly makes, uses, or causes to be made or used a false
               record or statement material to a false or fraudulent claim;

               (3) Conspires to commit a violation of paragraph (1), (2), (4), (5),
               (6), or (7) of this subsection;

               (7) Knowingly makes, uses, or causes to be made or used a false
               record or statement material to an obligation to pay or transmit
               property or money to the Georgia Medicaid program, or knowingly
               conceals or knowingly and improperly avoids or decreases an
               obligation to pay or transmit property or money to the Georgia
               Medicaid program.

O.C.G.A. § 49-4-168.l.

       37.     The civil penalties for violating the statute are:

               consistent with the civil penalties provision of the federal False
               Claims Act, 31 U.S.C. 3729(a), as adjusted by the federal Civil
               Penalties Inflation Adjustment Act of 1990 (28 U.S.C. 2461; Public
               law 101-410), and as further amended by the federal Civil Penalties
               Inflation Adjustment Improvements Act of 2015 (Sec. 701 of Public
               Law 114-74), plus three times the amount of damages which the




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                  Georgia Medicaid program sustains because of the act of such
                  person.
Id.

         38.      Under O.C.G.A. § 49-4-168, “knowing” and “knowingly” require no proof of

specific intent to defraud and mean that a person, with respect to information:

               (A) Has actual knowledge of the information;
               (B) Acts in deliberate ignorance of the truth or falsity of the information; or
               (C) Acts in reckless disregard of the truth or falsity of the information.

         39.      The statute defines “material” as “having a natural tendency to influence, or be

capable of influencing, the payment or receipt of money or property.” O.C.G.A. § 49-4-168(3).

         40.      The statute defines “claim” as:

                  any request or demand, whether under a contract or otherwise, for
                  money, property, or services, which is made to the Georgia
                  Medicaid program, or to any officer, employee, fiscal intermediary,
                  grantee or contractor of the Georgia Medicaid program, or to other
                  persons or entities if it results in payments by the Georgia Medicaid
                  program, if the Georgia Medicaid program provides or will provide
                  any portion of the money or property requested or demanded, or if
                  the Georgia Medicaid program will reimburse the contractor,
                  grantee, or other recipient for any portion of the money or property
                  requested or demanded. A claim includes a request or demand made
                  orally, in writing, electronically, or magnetically. Each claim may
                  be treated as a separate claim. O.C.G.A. § 49-4-168(1).

      C. The Federal Anti-Kickback Statute

         41.      Congress enacted the AKS, 42 U.S.C. § 1320a-7b(b), under the Social Security Act

in 1972 and has amended it many times since. To protect the integrity of government healthcare

programs, Congress enacted this prohibition against the payment of kickbacks in any form,

regardless of whether the particular kickback actually gives rise to overutilization or poor quality

of care. One purpose of the AKS is to combat the corrupting influence of personal financial gain

on the decision of healthcare providers about what medical services are right for their patients and

what providers should furnish those services.



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       42.     The AKS prohibits any person or entity from offering or paying and soliciting or

accepting “any remuneration” to induce or reward any person for referring, recommending, or

arranging for the purchase of any item for which payment may be made under a federally-funded

health care program. 42 U.S.C. § 1320a-7b(b). The statute provides, in pertinent part:

       (b) Illegal remuneration

       (2) Whoever knowingly and willfully offers or pays any remuneration (including
       any kickback, bribe, or rebate) directly or indirectly, overtly or covertly, in cash or
       in kind to any person to induce such person—

               (A) to refer an individual to a person for the furnishing or arranging for the
                  furnishing of any item or service for which payment may be made in
                  whole or part under a Federal health care program, or

               (B) to purchase, lease, order, or arrange for or recommend purchasing,
                   leasing, or ordering any good, facility, service, or item for which
                   payment may be made in whole or in part under a Federal health care
                   program.

       shall be guilty of a felony and upon conviction thereof, shall be fined not more than
       $100,000 or imprisoned for not more than 10 years, or both.

42 U.S.C. § 1320a-7b(b).

       43.     Congress enacted the AKS to ensure that decisions about medical care are based on

the best interests of patients, rather than on the influence of payments or other “remuneration.”

Congress also was concerned that kickbacks distort medical decision-making, create unfair

competition in the healthcare market, drive honest companies out of the market, and lead to the

overutilization of services and increased costs to federal healthcare programs, all to the detriment

of patients and the federal healthcare programs. See 65 Fed. Reg. 59,434, 59,440 (Oct. 5, 2000).

       44.     For purposes of the AKS, “remuneration” is broadly defined to include anything of

value, “directly or indirectly, overtly or covertly, in cash or in kind.” 42 U.S.C. § 1320a-7b(b)(1).

       45.     Underscoring the breadth of the statutory definition, the United States Department

of Health and Human Services, Office of Inspector General (“HHS OIG”) Anti-Kickback


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Provisions, 56 Fed. Reg. 35952, 35958 (1991), broadly define the term “remuneration” as

“anything of value in any form or manner whatsoever.” See HHS-OIG Anti-Kickback Provisions,

56 Fed. Reg. 35952, 35958 (1991); accord United States ex rel. Heller v. Guardian Pharmacy of

Atlanta, LLC, Civil Action No. 1:18-cv-03728-SDG, 2023 U.S. Dist. LEXIS 207629, at *67 (N.D.

Ga. Sep. 30, 2023) (citing HHS OIG commentary); United States ex rel. Fry v. The Health Alliance

of Greater Cincinnati, 2008 U.S. Dist. LEXIS 102411, at *17 (S.D. Ohio Dec. 18, 2008).

       46.     As such, unlawful remuneration includes payments for patient referrals, including

payments through complex incentive programs or implementation payments.

       47.     The AKS prohibits any arrangement in which at least one purpose of the

remuneration is to induce referrals of patients for items or services paid for by federal health care

programs. United States v. Borrasi, 639 F.3d 774 (7th Cir. 2011); United States v. McClatchey,

217 F.3d 823 (10th Cir. 2000); United States v. Davis, 132 F.3d 1092 (5th Cir. 1998); United States

v. Kats, 871 F.2d 105 (9th Cir. 1989); United States v. Greber, 760 F.2d 68 (3d Cir. 1985); see

also United States ex rel. Heller v. Guardian Pharmacy of Atlanta LLC, 2023 U.S. Dist. LEXIS

207629, at *72 (N.D. Ga. Sept. 30, 2023) (“[W]here Heller has marshalled evidence of an

improper purpose for Guardian’s provision of one or more of the Services, Guardian’s argument

that its Services ‘promote patient and medication safety, reduce drug utilization, are integrally

related to Guardian’s products, and benefit Guardian’s own patients and the Medicare program,’

even if true, do not entitle it to summary judgment.”).

       48.     The knowing and willful offering or payment of remuneration to a SNF violates the

AKS when even one purpose of the transaction is to induce the referral of federal healthcare

program-related business, including Medicare Part C business.




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       49.        The definition of “referral” is also broad. “The applicable lesson is … the definition

of a referral under the [AKS] is broad, encapsulating both direct and indirect means of connecting

a patient with a provider. It goes beyond explicit recommendations to include more subtle

arrangements. And the inquiry is a practical one that focuses on substance, not form.” Stop Illinois

Health Care Fraud, LLC v. Sayeed, 957 F.3d 743, 750 (7th Cir. 2020).

       50.        The UnitedHealth Defendants’ payments to the SNFs (in the form of the offering

of the ISNP contract, implementation payments, and more favorable incentive plans) in exchange

for access to the SNFs’ patients’ protected health information and the SNFs’ participation in the

illegal recruiting scheme constitutes the payment of remuneration in exchange for referrals in

violation of the AKS. See Stop Illinois Health Care Fraud, LLC v. Sayeed, No. 22-3295, 2024

WL 1916749 (7th Cir. May 2, 2024) (affirming AKS violations when a defendant paid a health

care consortium $5,000 per month in order to access the consortium’s clients’ healthcare data so

that the defendant’s company could mine this private healthcare data for potential solicitation

opportunities).

       51.        No exceptions or safe harbors to the AKS apply to the kickbacks provided by the

UnitedHealth Defendants to the SNFs to induce the SNFs to refer their residents for enrollment in

the UnitedHealth Defendants’ ISNPs.

       52.        In 2010, Congress strengthened the AKS by adding a provision to establish that a

claim for payment submitted to a federal program such as Medicare, Medicaid, or TRICARE that

includes “items or services resulting from” a kickback scheme “constitutes a false or fraudulent

claim” in violation of the FCA. See 42 U.S.C. § 1320a-7b(g).




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       53.     Accordingly, a claim for payment under the Medicare Advantage program or to

Medicaid for the corresponding premium for the Part C ISNP that results from a kickback scheme

is a false claim as a matter of law. Id.

       54.     Compliance with the AKS thus is a material condition of payment for claims

submitted to the Medicare Advantage Program and the Medicaid Program as a matter of law. See

United States ex rel. Heller v. Guardian Pharmacy, LLC, 521 F. Supp. 3d 1254, 1278 (N.D. Ga.

2021) (collecting cases including Guilfoile v. Shields, 913 F.3d 178, 190 (1st Cir. 2019)); see also

United States ex rel. Wilkins v. United Health Group, Inc., 659 F.3d 295, 313 (3rd Cir. 2011)

(“Compliance with the AKS is clearly a condition of payment under Parts C and D of Medicare.”)

       55.     Separately, the long-standing law of the Eleventh Circuit is that a claim for payment

for an item or service covered by a federal healthcare program is a false claim when it is tainted

by an underlying violation of the AKS. See, e.g., United States ex rel. McNutt v. Haleyville Medical

Supplies, Inc., 423 F.3d 1256, 1260 (11th Cir. 2015); United States ex rel. Heller v. Guardian

Pharmacy of Atlanta, LLC, Civil Action No. 1:18-cv-03728-SDG, 2024 U.S. Dist. LEXIS 4157,

at *8 (N.D. Ga. Jan. 9, 2024) (holding the implied-certification theory of falsity under

McNutt “remains binding”).

       56.     Therefore, the AKS violations alleged herein are material as a matter of law. See

United States ex rel. Heller v. Guardian Pharmacy of Atlanta, LLC, Civil Action No. 1:18-cv-

03728-SDG at 82 (N.D. Ga. Sept. 30, 2023).

       57.     Pursuant to the Medicare Advantage insurer’s contract with CMS, the Medicare

Advantage insurers enroll beneficiaries in their plans and present claims to CMS for

reimbursement based on the number of enrollees. CMS pays the Medicare Advantage insurers

based on the number of enrollees. Violations of the AKS, therefore, can render these claims false,




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in violation of the FCA. See United States ex rel. Wilkins v. United Health Group, Inc., 659 F.3d

295, 314 (3rd Cir. 2011).

          58.   Furthermore, MAOs enter into contracts with CMS to offer Medicare Advantage

plans, including ISNPs, to Medicare beneficiaries. Pursuant to those contracts, all MAOs, such as

the UnitedHealth Defendants, agree to comply with the AKS and the FCA. See 42 C.F.R. §

422.504(h). Thus, when the claimant fails to disclose a violation of these statutes, the claim is

false and not eligible for payment. See McNutt, 423 F.3d at 1257-59; United States ex rel. Kester

v. Novartis Pharms. Corp., 43 F. Supp. 3d 332, 364 (S.D.N.Y. 2014) (“the act of submitting a

claim for reimbursement itself implies compliance with” the Anti-Kickback Statute) (cit. omitted);

see generally Universal Health Servs., Inc. v. United States ex rel. Escobar, 136 S. Ct. 1989, 2000

(2016).

          59.   Not only is compliance with the AKS material to payment in the Eleventh Circuit,

but also violations of the marketing regulations and legal requirements related to marketing ISNPs

further described are also material to the government’s payment decision. These regulations and

legal requirements go to the very essence of the Medicare bargain – safeguarding vulnerable

patients from being illegally recruited into Part C plan in the first place is essential; otherwise,

these illegal marketing practices directly lead to the enrollment of patients in the ISNPs, triggering

the automatic payment of monthly claims to the UnitedHealth Defendants in the form of capitated

payment for the enrolled beneficiaries’ care.

          60.   The MAO’s contractual, statutory, and regulatory obligations are binding on all

related and delegated entities. Therefore, the UnitedHealth Defendants’ obligations are binding

on all of the UnitedHealth Defendant’s direct and subsidiaries named as Defendants in this action,




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including but not limited to Optum, Inc. and Optum Services, Inc., and the UnitedHealth

Defendants may be held liable for the actions of all of these direct and indirect subsidiaries.

                           FEDERAL HEALTHCARE PROGRAMS

   A. The Medicare Advantage Program: Medicare Part C

       61.     The Medicare Program is a federal government-funded medical assistance

program, primarily benefiting the elderly and disabled, which was created in 1965 when Congress

enacted Title XVIII of the Social Security Act, 42 U.S.C. §§ 1395, et seq.                (hereinafter,

“Medicare”). Medicare is administered by the Centers for Medicare and Medicaid Services

(“CMS”), a division of the United States Department of Health and Human Services (“HHS”), and

is funded by taxpayer revenue. Medicare was designed to be a health insurance program and to

provide for the payment of hospital services, medical services, and durable medical equipment to

persons older than 65 years of age and others who qualify under its terms.

       62.     Parts A and B of the Medicare Program are known as “traditional” Medicare. Part

A covers inpatient and institutional care. Part B covers physician, hospital, outpatient, and ancillary

services and durable medical equipment. Under Medicare Parts A and B, CMS reimburses

healthcare providers using the fee-for-service system, in which providers submit claims to CMS

for healthcare services actually rendered. CMS then pays the providers directly for each service

based on payment rates pre-determined by the Government.

       63.     Under Medicare Part C, Medicare beneficiaries may opt out of “traditional”

Medicare and instead may enroll in Medicare Advantage Plans to receive healthcare services

managed by those Plans. The Medicare Advantage Plans are run by MAOs, which are often private

insurers such as the UnitedHealth Defendants. See 42 C.F.R. §§ 422.2, 422.503(b)(2).




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        64.     Medicare Advantage Plans must provide Medicare beneficiaries all of the services

that they are entitled to receive from the traditional Medicare Program.

        65.     Under Medicare Part C, the Government pays each MAO a predetermined base

monthly capitated amount for each Medicare beneficiary enrolled in its Medicare Advantage Plans.

This monthly payment is known as a “per-member, per-month” or capitated payment. The MAO,

in turn, uses these funds to provide Medicare-covered services and benefits to beneficiaries

enrolled in its plan.

        66.     As discussed above, under Medicare Part C, MAOs may offer ISNPs, which are

special needs plans for disabled beneficiaries or other sick beneficiaries residing in a skilled

nursing facility, or SNF.

        67.     For ISNPs, CMS pays the MAO, such as the UnitedHealth Defendants, and the

MAO, in turn, pays the SNFs for providing skilled nursing and rehabilitative care to the Medicare

beneficiaries at the SNF enrolled in the ISNP.

        68.     Under Medicare Part D, Medicare beneficiaries can elect to enroll in either a

Prescription Drug plan (known as a “PD Plan”) or a Medicare Advantage Plan that provides

prescription drug coverage in addition to the physician office visit and hospital outpatient and

inpatient coverage provided under Part C (known as a “Medicare Advantage Prescription Drug

Plan”). For simplicity, in this Complaint, Relator refers to Parts C and D collectively as the

“Medicare Advantage Program” and refers collectively to Medicare Advantage Plans, Prescription

Drug Plans, and Medicare Advantage Prescription Drug Plans as “Plans.”

        69.     MAOs are “risk-bearing” entities that must be licensed by the State in which they

are located. 42 C.F.R. §§ 422.2 & 422.503(b)(2). Each MAO agrees to bear the risk that the

amount that it pays providers for the health services rendered to a particular beneficiary enrolled




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in one of its Plans may exceed the amount that it was paid by the Government to insure the

beneficiary.

       70.     Medicare beneficiaries who enroll in a Medicare Advantage, Prescription Drug, or

Medicare Advantage Prescription Drug Plan are considered members of and enrollees in that Plan.

In this Complaint, the terms “beneficiaries,” “members,” and “enrollees” are used interchangeably,

but mean the same thing, that is individuals enrolled in Plans.

       71.     MAOs’ obligations to the Medicare Advantage Program and the requirements for

them to participate in the Program are set forth in federal regulations. Each year, the MAOs must

agree in writing to comply with those regulations and to other terms and conditions in order to

participate in the Medicare Advantage Program. 42 C.F.R. §§ 422.504 & 422.505 (Part C); 42

C.F.R. §§ 423.504 & 423.505 (Part D). 42 U.S.C. § 1320a-7k(d).

       72.     In addition, MAOs sign certifications that they will comply with requirements set

forth in statutes, such as the FCA and the AKS, and other requirements, such as those found in the

Medicare Managed Care Manual, the Medicare Prescription Drug Benefit Manual, Medicare

Communications and Marketing Guidelines (now incorporated into federal regulations), the Risk

Adjustment Participant Guides, and Medicare Advantage operating instructions.

       73.     As a condition for receiving monthly payments from CMS, a MAO must, via its

top executive or individuals authorized to sign on their behalf, request payment under the contract

on a document that attests to the accuracy, completeness, and truthfulness of relevant data that

CMS requests. Specifically, the signatory must attest to the fact that each enrollee for whom the

organization is requesting payment is validly enrolled in a Medicare Advantage plan offered by

the MAO and that the information relied upon by CMS in determining payment is accurate,

complete, and truthful. 42 C.F.R. § 422.504(l).




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       74.     Pursuant to Medicare regulations, a related entity “means any entity that is related

to the Medicare Advantage organization by common ownership or control and (1) [p]erforms some

of the Medicare Advantage organization’s management functions under contract or delegation;

[or] (2) [f]urnishes services to Medicare enrollees under an oral or written agreement ….” Id.

Related entities such as Defendant Optum, Inc. or Defendant Optum Services, Inc. must, among

other things: perform their services in a manner that complies with the Medicare Advantage

organization’s contractual obligations to the Government, id. at § 422.504(i)(3)(iii); agree to

“comply with all applicable Medicare laws, regulations, and CMS instructions,” id. at

§422.504(i)(4)(v); and receive effective compliance training and education relating to preventing

fraud, waste, and abuse, id. at § 422.504(l)(3).

       75.     A MAO “maintains ultimate responsibility for adhering to and otherwise fully

complying with all terms and conditions of its contract with CMS.” 42 C.F.R. § 422.504(i)(1).

Thus, a MAO cannot delegate away its ultimate responsibility for its obligations to the

Government.

   B. ISNP Enrollment Process and Resulting Submission of Claims to Medicare

       76.     Medicare beneficiaries admitted to a SNF, or the beneficiaries’ responsible parties,

may elect to enroll in an ISNP if (a) the SNF has a contract with a MAO; and (b) the beneficiary

requires or is expected to need institutional long-term care for 90 days or more. See Section 20.3.1

of Chapter 16-B of CMS’s Medicare Managed Care Manual.

       77.     To enroll, a Medicare beneficiary, or his legal representative, submits an enrollment

request to a Medicare Advantage insurer, and the Medicare Advantage insurer is required to submit

the information necessary for CMS to add the beneficiary to its records as an enrollee of the

insurer’s plan within 7 calendar days of receipt of the completed enrollment request. See Chapter




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2, Section 20.3 and Section 40.3 of CMS’s Medicare Managed Care Manual, https://www.cms

.gov/files/document/cy-2024-ma-enrollment-and-disenrollment-guidance.pdf.

       78.     The beneficiary is then enrolled in the ISNP, and the MAO will begin receiving

monthly payments for each enrolled beneficiary. Evidence of an enrollment, therefore, constitutes

evidence a claim was submitted to the government on that beneficiary’s behalf.

       79.     The MAO is paid “based on the plan’s enrollment and the risk adjustment

methodology.” See Chapter 16-B, Sec.10.3 of CMS’s Medicare Managed Care Manual. https://

www.cms.gov/regulations-and-guidance/guidance/manuals/downloads/mc86c16b.pdf.

       80.     As a condition of receiving these monthly capitated payments for each beneficiary

enrolled in the ISNP, the Medicare Advantage insurer must certify that all enrollment data it has

provided to CMS is accurate. 42 C.F.R. § 422.504(l)(1).

       81.     Therefore, unlike traditional fee for service Medicare where claims are not

submitted until providers perform services and bill those services to the Medicare program as

claims, for Part C, and specifically for ISNPs, the act of the MAO enrolling the beneficiary in the

ISNP and CMS accepting this enrollment thus triggers the submission and payment of claims by

the government.

       82.     The MAO is not entitled to those payments from CMS if the beneficiary’s

enrollment and claims submitted for payment for that beneficiary resulted from an AKS violation

or some other material violation of the MAO’s requirements. Wilkins, 659 F.3d at 313-314.

   C. Medicare Regulations Regarding Marketing of Medicare Advantage Plans

       83.     MAOs, such as the UnitedHealth Defendants, and their delegated entities, such as

Defendant Optum, Inc. and Optum Services, Inc., are required to “follow existing MA program




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rules, including MA regulations at 42 C.F.R. 422, as interpreted by guidance.” Chapter 16-B, Sec.

10.3 of CMS’s Medicare Managed Care Manual.

       84.     Federal regulations further outline the legal requirements of Medicare Advantage

Organizations. These requirements extend to “related entities” which are defined by regulation to

include “any entity that is related to the MA organization by common ownership or control and—

(1) Performs some of the MA organization’s management functions . . . ; [or] (2) Furnishes services

to Medicare enrollees . . .” 42 C.F.R. § 422.500. Despite delegating responsibilities to the related

entities, the Medicare Advantage Organization “maintains ultimate responsibility for adhering to

and otherwise fully complying with all terms and conditions of its contract with CMS.” 42 C.F.R.

§ 422.504(i)(1).

       85.     MAOs must enter into a contract with CMS. 42 C.F.R. § 422.503. The contract

must include provisions under which the MAO agrees to comply with:

       (1) Federal laws and regulations designed to prevent or ameliorate fraud, waste,
           and abuse, including, but not limited to, applicable provisions of Federal
           criminal law, the False Claims Act (31 U.S.C. 3729 et. seq.), and the anti-
           kickback statute (section 1128B(b)) of the Act); and

       (2) HIPAA administrative simplification rules at 45 CFR parts 160, 162, and 164.

42 C.F.R. § 422.504.

       86.     Further, all contracts or written arrangements entered into by the MAO “must

specify that the related entity, contractor, or subcontractor must comply with all applicable

Medicare laws, regulations, and CMS instructions.” 42 C.F.R. § 422.504(i)(4)(v).

       87.     Federal regulations strictly limit the marketing of Medicare Advantage Plans,

including ISNPs, to protect vulnerable Medicare beneficiaries. These limitations on marketing

Medicare Advantage Plans were previously contained in the Medicare Communications and

Marketing Guidelines. In January 2021, CMS issued a final rule to codify this guidance in the



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federal regulations. 86 Fed. Reg. 5864 (Jan. 19, 2021). The current regulations do not include any

substantive changes that have any bearing on the matters addressed in the Amended Complaint.

       88.       Medicare regulations define “marketing” as “communications materials and

activities that meet both the following standards for intent and conduct:

       (1) Intended, as determined under paragraph (1)(ii) of this definition, to do any of
       the following:
              (i)
                        (A) Draw a beneficiary's attention to a MA plan or plans.
                        (B) Influence a beneficiary's decision-making process when making
                        a MA plan selection.
                        (C) Influence a beneficiary's decision to stay enrolled in a plan (that
                        is, retention-based marketing).
       (ii) In evaluating the intent of an activity or material, CMS will consider objective
       information including, but not limited to, the audience of the activity or material,
       other information communicated by the activity or material, timing, and other
       context of the activity or material and is not limited to the MA organization's stated
       intent.
       (2) Include or address content regarding any of the following:
              (i) The plan's benefits, benefits structure, premiums, or cost sharing.
              (ii) Measuring or ranking standards (for example, Star Ratings or plan
              comparisons).
              (iii) Rewards and incentives as defined under § 422.134(a).

42 C.F.R. § 422.2260.

       89.       42 C.F.R. § 422.2262(a)(1)(i) and 422.2262(a)(1)(iii) expressly prohibit MAOs

from providing “information that is inaccurate or misleading” and prohibit “[e]ngag[ing] in

activities that could mislead or confuse Medicare beneficiaries, or misrepresent the MA

organization.”

       90.       42 C.F.R. § 422.2263(b)(7) prohibits MAOs from “[k]nowingly target[ing] or

send[ing] unsolicited marketing materials to any MA enrollee during the Open Enrollment Period.”




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       91.     42 C.F.R. § 422.2264 contains explicit restrictions on the MAO’s unsolicited

contact of vulnerable Medicare beneficiaries. 42 C.F.R. § 422.2264(a)(2)(i) prohibits “door to

door solicitation.”

       92.     42 C.F.R. § 422.2264(a)(2)(iv) prohibits “us[ing] telephone solicitation (that is,

cold calling) … including, but not limited to: (A) Calls based on referrals; … and (C) Calls to

beneficiaries who attended a sales event, unless the beneficiary gave express permission to

conduct.”    In order for calls to not be considered “unsolicited”, the “beneficiary… [must]

provide[s] consent or intiate[] contact with the plan.” 42 C.F.R. § 422.2264(a)(3).

       93.     In order to meet in person or virtually with a Medicare beneficiary (or his

representative), the beneficiary must make the request (“If a resident did not request an

appointment, any visit by an agent or broker is prohibited as unsolicited door-to-door marketing.”)

42 C.F.R. § 422.2264(c)(1)(iv).       Forty-eight hours before the appointment, the Medicare

Advantage Organization must “agree upon and record the Scope of Appointment with the

beneficiary(ies),” and during the appointment, the MAO must not market any products beyond the

agreed-upon scope of the appointment. 42 C.F.R. § 422.2264(c)(3)(i).

       94.     CMS imposes even stricter requirements on Medicare Advantage Plan-Initiated

Provider Activities in the Healthcare Setting. 42 C.F.R. § 422.2266(a)(2)-(3) prohibits marketing

activities in hospital patient rooms or treatment areas where patients interact with providers.

       95.     The regulations define “plan-initiated provider activities” as “activities conduct by

a provider at the request of an MA organization.” This covers, for example, marketing activities

the UnitedHealth Defendants requested of the SNFs.

       96.     The regulations state that the MAO “must ensure that the provider does not…:

       (i) Accept or collect Scope of Appointment forms.

       (ii) Accept Medicare enrollment applications.


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        (iii) Make phone calls or direct, urge, or attempt to persuade their patients to enroll in a
        specific plan based on financial or any other interests of the provider.

        …

        (v) Offer inducements to persuade patients to enrolled in a particular MA plan….

        (vii) Distribute marketing materials or enrollment forms in areas where care is being
        delivered.

        (viii) Offer anything of value to induce enrollees to select the provider.

        (ix) Accept compensation from the MA organization for any marketing or enrollment
        activities performed on behalf of the MA organization.

42 C.F.R. § 422.2266(d)(1).

        97.     Underscoring the importance of prohibiting providers (such as SNFs) from

accepting compensation for marketing or enrollment activities performed on MAO’s’ behalf, 86

Fed. Reg. 5992 states, “The steps taken by CMS to restrict compensation to providers for

marketing activities are rooted in ensuring the provider is a neutral party who is offering guidance

to patients based solely on what is best for the patient. We note that the decision to preclude plans

from compensating providers for marketing activities predates this rulemaking and has been in

section 60.2 of the MCMG since it was first released on July 20, 2018.”

        98.     Not only is compliance with the AKS material to payment in the Eleventh Circuit,

but also violations of the marketing regulations and legal requirements related to marketing ISNPs

are also material to the government’s payment decision. These regulations and legal requirements

go to the very essence of the Medicare bargain – safeguarding vulnerable patients from being

illegally recruited into Part C plan in the first place is essential; otherwise, these illegal marketing

practices directly lead to the deceptive enrollment of patients in the ISNPs, triggering the automatic

payment of monthly claims to the UnitedHealth Defendants in the form of capitated payment for

the enrolled beneficiaries’ care.




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       99.     The MAO’s contractual, statutory, and regulatory obligations are binding on all

related and delegated entities. Therefore, the UnitedHealth Defendants’ obligations are binding

on all of the UnitedHealth Defendant’s direct and subsidiaries named as Defendants in this action,

including but not limited to Optum, Inc. and Optum Services, Inc., and the UnitedHealth

Defendants may be held liable for the actions of all of these direct and indirect subsidiaries.

   D. Medicare Requirements Related to Physician Incentive Plans

       100.    Chapter 6 of CMS’s Medicare Managed Care Manual governs Medicare Advantage

Organizations’ relationship with physician providers.

       101.    Section 80.1 of Chapter 6 relates to Physician Incentive Plans, defined as “any

compensation arrangement to pay a physician or physician group that may directly or indirectly

have the effect of reducing or limiting the services provided to any plan enrollee.”

       102.    The Manual prohibits “specific payment[s], directly or indirectly, to a physician or

the physician group as an inducement to reduce or limit medically necessary services furnished to

any particular enrollee.” Id.

       103.    Section 80.2 requires the MAO to disclose information to CMS to ensure the

physician incentive plan requirements are met. Each MAO must also provide information to any

Medicare beneficiary who requests information regarding whether they use a physician incentive

plan, the type of arrangement, and whether stop-loss protection is provided.

   E. Federal Protection of Patient Health Information

       104.    The Health Insurance Portability and Accountability Act of 1996 (“HIPAA”), 42

U.S.C. § 1320d-6(a), makes it illegal to knowingly:

               (1)     use[] or cause[] to be used a unique health identifier;

               (2)     obtain[] individually identifiable health information relating to an
                       individual; or



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                (3)    disclose[] individually identifiable health information to another person.”

       105.     HIPAA contains stiff penalties:

                (b) PENALTIES. A person described in subsection (a) shall—

                       (1) be fined not more than $50,000, imprisoned not more than 1 year, or
                       both;

                       (2) if the offense is committed under false pretenses, be fined not more
                       than $100,000, imprisoned not more than 5 years, or both; and

                       (3) if the offense is committed with intent to sell, transfer, or
                       use individually identifiable health information for commercial advantage,
                       personal gain, or malicious harm, be fined not more than $250,000,
                       imprisoned not more than 10 years, or both.

42 U.S.C. § 1320d-6(b).

       106.     The Government also imposes civil penalties for improper disclosures of protected

health information. See 42 U.S.C. § 1320d-5(a)(1).

       107.     The UnitedHealth Defendants and the SNFs with which they contracted were

covered entities under HIPAA.

       108.     45 C.F.R. § 164.502 prohibits covered entities or business associates from “us[ing]

or disclos[ing] protected health information” unless otherwise permitted in the regulations.

       109.     45 C.F.R. § 164.502(a)(5)(ii)(A) prohibits covered entities from selling protected

health information.

       110.     45 C.F.R. § 164.502(a)(5)(ii)(B)(1) defines “sale” as any disclosure where “the

covered entity or business associate directly or indirectly receives remuneration from or on behalf

of the recipient of the protected health information in exchange for the protected health

information.”

       111.     Further, regulations make clear that the patient’s authorization is required prior to

sharing his protected health information. “Except as otherwise permitted or required by this



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subchapter, a covered entity may not use or disclose protected health information without an

authorization that is valid under this section.” 45 C.F.R. § 164.508(a)(1).

       112.    In addition, the regulations state:

               (3) Authorization required: Marketing.
               (i) Notwithstanding any provision of this subpart, other than the transition
           provisions in § 164.532, a covered entity must obtain an authorization for
           any use or disclosure of protected health information for marketing, except if
           the communication is in the form of:
                       (A) A face-to-face communication made by a covered entity to
                       an individual; or
                       (B) A promotional gift of nominal value provided by the covered
                       entity.
               (ii) If the marketing involves financial remuneration, as defined in
           paragraph (3) of the definition of marketing at § 164.501, to the covered
           entity from a third party, the authorization must state that such remuneration is
           involved.
45 C.F.R. § 164.508(a)(3).

       113.    Compliance with HIPAA is a condition for payment since failing to do so can give

rise to criminal liability and since the government does not knowingly pay claims to providers who

violate HIPAA.

       114.    At least one Court has held that HIPAA violations may give rise to liability. In

United States ex rel. O’Donnell v. Am. at Home Healthcare & Nursing Servs., Ltd., Case No. 14-

cv-1098, 14 (N.D. Ill. Jan. 8, 2018), a whistleblower alleged that a home health company had

violated the False Claims Act by “search[ing] the confidential medical charts at different facilities

to collect the names of patients they could solicit for home health services.” The whistleblower

argued that illegally using this protected health information for solicitation violated Defendants’

implied certifications that they had complied with the law. The Court held, “If ‘information that

a hospital has purchased patients by paying kickbacks has a good probability’ of affecting a




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payment decision, id., then information that a home health agency has pilfered protected health

data to solicit patients has a good probability of affecting a payment decision too.” Id. at 16.

   F. Georgia Medicaid Program

       115.    The Medicaid Program was created in 1965 as part of the Social Security Act,

which authorized federal grants to states for medical assistance to low-income, blind, or disabled

persons, or to members of families with dependent children or qualified pregnant women or

children. The Medicaid Program is a jointly funded federal-state program and is administered by

CMS at the federal level. Within broad federal rules, each state determines eligibility requirements

for Medicaid, the services covered, payment levels for services, and administrative and operational

procedures.

       116.    In order to qualify for federal funds, the Georgia Medicaid program is required to

implement a State Plan containing certain specific minimum criteria for coverage and payment of

claims, as set forth by the federal Medicaid statute. See 42 U.S.C. § 1396a.

       117.    The Georgia Department of Community Health (“DCH”) is responsible for the

administration and supervision of the Medicaid program. Georgia law authorizes DCH “to

establish such rules and regulations as may be necessary or desirable in order to execute the [S]tate

[P]lan and to receive the maximum amount of federal financial participation available in

expenditures made pursuant to the [S]tate [P]lan . . . .” O.C.G.A. § 49-4-142(a). Georgia law also

authorizes and requires DCH to “publish the terms and conditions for receipt of medical assistance

in Policies and Procedures manuals for each of the categories of services authorized under the

State Plan.” Ga. Comp. R. & Regs. R. 350-1-.02(3). These manuals are disseminated to providers

enrolled in the applicable category of service, and amendments thereto are effective “as specified

by the Department at the time of dissemination.” Id. Thus, DCH sets the rules for the provision




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of medical services to Georgia Medicaid recipients, the circumstances in which providers can

become enrolled in Georgia Medicaid, and how Georgia Medicaid reimburses providers for these

claims.

          118.   According to the Medicaid Secondary Claims User Guide, Georgia Medicaid will

pay Medicare Part C coinsurance and deductible payments up to the Medicaid maximum allowable

amount for certain beneficiaries. Georgia Department of Community Health (DCH), Part II

Medicaid Secondary Claims User Guide (April 1, 2019).

          119.   Beneficiaries who receive assistance include dual eligible Medicare and Medicaid

beneficiaries who are part of one of the following Medicare Savings Programs:

 Coverage Group                    Criteria                          Benefits

 Qualified Medicare                Individual is entitled to         Medicaid payment of
 Beneficiary                       Medicare Part A, has income       Medicare premiums,
                                   that does not exceed 100% of      deductibles, and co-insurance
                                   the Federal Poverty Level,        and co-pays (except for Part
                                   and whose resources do not        D)
                                   exceed twice the
                                   Supplemental Security
                                   Income limit

 QMB Plus                          Individual is entitled to         Medicaid payment of
                                   Medicare Part A, has income       Medicare premiums,
                                   that does not exceed 100% of      deductibles, co-insurance and
                                   the Federal Poverty Level,        co-pays (except for Part D),
                                   whose resources do not            and all benefits available
                                   exceed twice the                  under the State Plan to a fully
                                   Supplemental Security             eligible Medicaid recipient
                                   Income limit, and also meets
                                   the financial criteria for full
                                   Medicaid coverage




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 Coverage Group                  Criteria                          Benefits

 Specified Low-income            Individual is entitled to         Medicaid payment of
 Medicare Beneficiary            Medicare Part A, has income       Medicare Part B premium
                                 that exceeds 100% of the
                                 Federal Poverty Level but is
                                 less than 120%, and whose
                                 resources do not exceed twice
                                 the Supplemental Security
                                 Income limit

 Qualifying Individual           Individual is entitled to         Medicaid payment of
                                 Medicare Part A, has income       Medicare Part B premium
                                 that exceeds 120% of the
                                 Federal Poverty Level but is
                                 less than 135%, and whose
                                 resources do not exceed twice
                                 the Supplemental Security
                                 Income limit


   G. Georgia Medicaid Policies

       120.   All Georgia Medicaid providers that submit claims electronically must complete an

Electronic Funds Transfer Agreement and agree to the following:

              Legal Compliance. Provider shall abide by all federal and state laws
              governing the Medicaid program.

                                             ****

              Provider further acknowledges and agrees that only Payees who
              have agreed in writing to: 1) comply with all Department policies
              regarding the payment of medical assistance; and 2) be subject to
              the recoupment policies outlined in the Provider’s Statement of
              Participation and as set forth in the Power of Attorney for Electronic
              Claims Submission, shall be deemed acceptable Payees.

                                             ****

              Provider certifies by such acceptance [of funds] that Provider
              presented the claims for the services . . . and that the services were
              rendered by or under the supervision of Provider. Provider
              understands that payment will be from federal and state funds and




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               that any falsification, or concealment of a material fact, may be
               prosecuted under federal and state laws.

Georgia Department of Community Health Electronic Funds Transfer Agreement.

       121.    At all times relevant to the Complaint, in order to receive payment for Medicaid

services, a provider must first enroll in the Georgia Medicaid program and enter into a provider

agreement with the State called a “Statement of Participation.” Among the express understandings

in the Statement of Participation include the following:

               Provider shall comply with all of the Department’s requirements
               applicable to the category(ies) of service in which Provider
               participates under this Statement of Participation, including Part I,
               Part II, and the applicable Part III manuals.

                                              ****

               Claims Submissions: Certification of Claims. Provider shall submit
               claims for Covered Services rendered to eligible Medicaid recipients
               in the form and format designated by the Department. For each
               claim submitted by or on behalf of Provider, Provider shall certify
               each claim for truth, accuracy and completeness . . . .

                                              ****

               Provider shall maintain in an orderly manner and ensure the
               confidentiality of all original source documents, medical records,
               identifying recipient data, and any copies thereof, as may be
               necessary to fully substantiate the nature and extent of all services
               provided.

                                              ****

               Provider shall render Covered Services, as defined in the
               Department’s Policies and Procedures manuals, to eligible Medicaid
               recipients that are medically necessary as defined by the
               Department, within the parameters permitted by Provider’s license
               or certification, and within the category(ies) of services indicated in
               the Provider Enrollment documents. By submitting claims for
               reimbursement, Provider certifies that Covered Services were
               rendered in the amount, duration, scope and frequency indicated on
               the claims.

                                              ****



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               Payment shall be made in conformity with the provisions of the
               Medicaid program, applicable federal and state laws, rules and
               regulations promulgated by the U.S. Department of Health and
               Human Services and the State of Georgia, and the Department’s
               Policies and Procedures manuals in effect on the date the service
               was rendered. . . . Provider agrees that the Department shall not
               reimburse any claim, or portion thereof, for services rendered . . .
               for which federal financial participation is not available.

                                              ****

               Provider acknowledges that payment of claims submitted by or on
               behalf of Provider will be from federal and state funds, and the
               Department may withhold, recoup, or recover payments as a result
               of Provider’s failure to abide by the Department’s requirements.

Department of Community Health Division of Medical Assistance, Statement of Participation,

DMA-002 (Rev. 04/03).

       122.    Therefore, the UnitedHealth Defendants understood that Georgia Medicaid may

withhold payment for claims submitted in violation of the Policies and Procedures manuals,

incomplete or untruthful claims, unsubstantiated claims, inaccurate claims, claims submitted in

violation of law, and claims submitted for which federal financial participation is not available.

       123.    The Part I Medicaid/PeachCare for Kids Manual is applicable to all providers

enrolled in the Georgia Medicaid program. In addition, such providers are also bound by the terms

of the Part II Manual that are applicable to the services provided.

       124.    The Part I Manual, “[a]long with the Statement of Participation, . . . encompasses

the terms and conditions for receipt of reimbursement.” Georgia Department of Community Health

(DCH), Part I Policies and Procedures for Medicaid/PeachCare for Kids, at “Preface” (April 1,

2019). The Part I Manual reiterates and reemphasizes the importance the State of Georgia places

on compliance and further delineates the specific conditions placed on providers submitting

claims. For example, according to the Part I Manual, each enrolled provider must:




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               B) Comply with all State and Federal laws and regulations related
               to furnishing Medicaid/PeachCare for Kids services.

                                              ****

               E) Not contact, provide gratuities or advertise “free” services to
               Medicaid… members for the purpose of soliciting members’
               requests for services. Any activity such as obtaining a list of
               Medicaid or PeachCare for Kids Members or canvassing
               neighborhoods for direct contact with Medicaid or PeachCare for
               Kids members is prohibited. Any offer or payment of
               remuneration, whether direct, indirect, overt, covert, in cash or
               in kind, in return for the referral of a Medicaid or PeachCare
               for Kids member is also prohibited.

                                              ****

               G) Not engage in any act or omission that constitutes or results in
               over utilization of services.

                                              ****

               J) Neither bill the Division for any services not performed or
               delivered in accordance with all applicable policies . . . .

Id. at R. 106, p. I-43-44 (Emphasis added).

                                FACTUAL ALLEGATIONS

   A. Background on the UnitedHealth Defendants’ Institutional Special Needs Nursing
      Home Plans

       125.    In 2023, UnitedHealthcare accounted for 29% of all Medicare Advantage

enrollment, or 8.9 million enrollees across the United States. Nancy Ochieng et al., Medicare

Advantage in 2023: Enrollment Update and Key Trends, KFF, available at https://www.kff.org/

medicare/issue-brief/medicare-advantage-in-2023-enrollment-update-and-key-trends/.

       126.    According to Optum’s website, through its ISNPs, the Defendants serve over 1,800

SNFs and over 70,000 beneficiaries nationwide. See https://www.optum.com/en/business/health-

plans/members/on-site-senior-care/care-model.html.




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       127.    The UnitedHealth Defendants currently sell two Medicare Advantage ISNPs in

Georgia and across the United States, both of which the UnitedHealth Defendants generally refer

to collectively as its Nursing Home Plan.

       128.    In order to offer these ISNPs, the Defendants’ Chief Executive Officer, Chief

Financial Officer, or someone with delegated authority to sign on their behalf would have had to

certify “that each enrollee for whom the organization is requesting payment is validly enrolled in

an MA plan offered by the organization and the information relied upon by CMS in determining

payment … is accurate, complete, and truthful.” See 42 C.F.R. § 422.504(l).

       129. The UnitedHealth Defendants’ ISNP is for patients who: (1) are eligible for

Medicare Part A; (2) are enrolled in Medicare Part B; (3) require a level of care that is usually

provided in a nursing home; (4) are currently living in a nursing home that has a contract with the

UnitedHealth Defendants; (5) have no active discharge plans; and (6) do not have End-Stage Renal

Disease at the time of enrollment.

       130. Beneficiaries of the ISNPs receive their Medicare Part A and Part B services in

addition to Medicare Part D coverage through the ISNPs.

       131. In 2019, the monthly premium for the ISNP was $25.70. Beneficiaries of the plans

must also pay Medicare Part B premiums unless they are eligible for reduced premiums. In 2024,

the monthly premium for the UHC Nursing Home Plan EX-F005 (PPO ISNP) is $20, and the

monthly premium for the UHC Nursing Home Plan GA-F001(PPO ISNP) is $34.90.

       132. As of early 2018, according to Section 2, page 37 of Optum’s ISNP and IESNP

Agent Training Book, approximately 93% of the UnitedHealth Defendants’ members enrolled in

the ISNP were eligible for both Medicare and Medicaid. Medicaid, therefore, covers some or all




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of the premiums for almost all of the enrollees in the UnitedHealth Defendants’ Special Needs

Nursing Home Plans.

   B. UnitedHealth Defendants’ Model of Care

       133. Defendant Optum, Inc.’s Complex Care Management team is responsible for selling

and operating the UnitedHealth Defendants’ ISNPs. See Optum ISNP and IESNP Agent Training

Book (“the Training Book”), page 12. The Training Book summarizes the “Value of the CarePlus

Care Model” to the nursing home as:

          o We provide an added level of care and facility education and support.

          o On-call for evening, holidays and weekends available.

          o Increased efficiency: skilled benefit without the CMS required 3-day qualifying
            hospitalization.

          o Better communication and enhanced documentation: facilitates communication
            among care team members and physicians. Supports state survey process and
            corrective action plans.

          o Improved reimbursement: reimbursement for 4 CPT codes not currently covered by
            Medicare.

          o Maintain resident satisfaction: care model helps supplement physician visits and
            avoid unnecessary transfers to the hospital

Id. at Section 4, Page 74.

       134. When a SNF contracts with the UnitedHealth Defendants, Optum, Inc. provides the

SNF with on-call Nurse Practitioners and Physician Assistants to care for their enrollees. Id. at

Section 4, Page 74.

       135. Optum, Inc. advertised that the care provided by the Nurse Practitioners and

Physician Assistants benefits both the UnitedHealth Defendants and the nursing facilities. As

explained in the Training Book:

       The UnitedHealthcare Nursing Home Plan supports census stability for the long
       term population with a treat-in-place care model because members receive skilled



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       care without leaving the SNF. The care model reduces unnecessary transfers to the
       emergency room or hospital admissions, resulting in the reduction of empty beds
       or the potential to lose residents to other SNFs once they are discharged from the
       hospital.

Id. at Section 3, Page 47.

       136. Contracting with the UnitedHealth Defendants provides potential additional revenue

streams for the SNF than the facility would receive from traditional Medicare.                As the

UnitedHealth Defendants explain in the Training Book, the contracts “provide the SNF with the

ability to receive revenue above and beyond what they would get with Traditional Medicare. A

SNF can bill for additional items in Part A and Part B and get reimbursed by UnitedHealthcare.”

Id. at Section 9, Page 188.

       137. Traditional Medicare Part A covers skilled nursing care provided in a skilled nursing

facility under certain conditions for a limited time. The patients must have a qualifying hospital

stay, defined as a three-day inpatient midnight stay in an acute care hospital. Once the patient

qualifies, the Part A services are reimbursed under a prospective payment system that pays the

skilled nursing facility a daily rate and a daily room charge based on the resource utilization group

(RUG) for which the patient is classified. The more skilled the services the patient needs, the

higher the RUG, and the greater the reimbursement. If a patient leaves the hospital after only two

days, the patient would not qualify for Medicare Part A skilled nursing services. If the patient

leaves the skilled nursing facility or refuses daily skilled care resulting in a break of more than 30

days, the patient would need a new 3-day acute care hospital stay to qualify for additional skilled

nursing facility care reimbursed under Part A.

       138. Traditional Medicare Part B services are paid on a fee-for-service basis.

       139. By comparison, under an ISNP, the UnitedHealth Defendants contract with CMS to

provide the primary care, skilled care, hospital care, and referral services for each enrolled



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beneficiary. The UnitedHealth Defendants receive a per-member, per-month capitated payment

from the government that is supposed to cover the enrolled beneficiary’s care. The UnitedHealth

Defendants then, in turn, pay the Skilled Nursing Facilities pursuant to the contract terms it

negotiates with each facility.

       140. As the Training Book explains, the Medicare Advantage ISNP “results in payment

options & financial incentives that are not usually offered to facilities.” Id. at Section 9, Page 186.

For example, the Training Book lists the following types of payment options and incentives:

           •   Payment of fees for delivering on-site care when hospitalization can be avoided

           •   Reimbursement for skilled days and intensive service days as medically necessary
               without the required 3-day hospital stay

           •   Additional programs in which facilities can participate

Id. at Section 9, Pages 186-87.

       141. The UnitedHealth Defendants can reimburse the SNF in either a fee-for-service or

capitated manner, but either way, the contracts permit the skilled nursing facility to receive

reimbursement from the UnitedHealth Defendants for additional items in Part A and Part B than

Traditional Medicare would provide. Id. at Section 9, Page 188.

       142. In addition, the UnitedHealth Defendants have different incentive plans at their

disposal to offer the SNFs depending on the facility’s level of cooperation and engagement with

the scheme. As the UnitedHealth Defendants explain, “Contracts include an incentive component

to promote collaboration with our clinical model by striving toward metrics that they are already

held accountable with state surveys and other entities by communicating with our APCs. Different

incentive plans are offered based on the contract.” Id. at page 189. In essence, the UnitedHealth

Defendants developed a variety of incentive plans to sweeten the deal for the SNFs and promote

the SNFs’ cooperation in the scheme and in the model of care.



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       143. For example, under the Dividend Savings Program, the UnitedHealth Defendants

would pay the facility on a quarterly basis based on how many patients per thousand were admitted

to the hospital (“Admits/K”) and based on the percentage of patients for whom the facility met

quality measures such as flu shots, weight loss, or restraints. Id. The quarterly incentive payment

earned was then multiplied by the number of the facility’s enrollments. Id. at 190.

       144. Under the Clinical Administrative Fee, the UnitedHealth Defendants would pay the

facility monthly based on a “per member per month” fee that supposedly covered the cost of

administrative functions associated with the Optum Care Model such as delivering Medicare

letters, calling the APC when the beneficiary’s condition changed, and advanced care planning.

Id.

       145. In order to increase the incentive payments paid to the facilities for their participation

in the scheme, the UnitedHealth Defendants developed a newer incentive plan called the Premium

Dividend Plan that “allows for [the] SNF to still achieve incentive dollars if they hit within a range

of the target.” Rather than the all or nothing approach in the Dividend Savings Program, the

Premium Dividend Plan gave UnitedHealth the flexibility to pay out incentive dollars when the

facility hit some, but not all, measures. Id. at 190. Under this plan, if the facility refers fewer

patients to the hospital, bringing down its Admits/K (and thus, decreasing UnitedHealth’s costs),

the UnitedHealth Defendants would pay the facility higher incentive payments. “The PMPM

increases exponentially based on the admits/K tier level achieved.” Similarly, even if the facility

sends too many patients to the hospital (i.e., its Admits/K is too high), the facility can still earn

payments for separately hitting quality measures. Id. at 191.




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       146. Under the examples provided in the Training Book, these incentive payments were

sizable – up to $17,550 per quarter under the Dividend Savings Plan and up to $6,340 per quarter

under the example Premium Dividend Plan. Id. at 190.

       147. Finally, for its most important facilities, the UnitedHealth Defendants offered a

Shared Savings incentive plan under which Defendants would share the profit it made (which it

defines as the Premium (i.e., the amount received from the government) – Medical Expense (i.e.,

the amount of money UnitedHealth spends caring for the patient) with the SNF at a level (based

on a set percentage) negotiated with the SNF. In the example provided in the Training Book, the

shared savings payout was $90,584 or 40% of all profits. Id. at 195-96.

       148. The Training Book makes clear that although there are many financial incentives for

a nursing home to want its members to sign up for the UnitedHealth Defendants’ ISNPs as outlined

above, “[i]t is important that we never say or imply that a SNF be guaranteed to make more money

with Optum.” Id. at Section 5, Page 45.

   C. UnitedHealth Defendants’ Policies Regarding Soliciting Potential Beneficiaries

       149. Since the Medicare Advantage Plans supplant traditional Medicare, CMS places

strict guidelines regarding the marketing of these plans, particularly to these vulnerable elderly

seniors and their responsible parties.

       150. At all times relevant to this Complaint, the UnitedHealth Defendants were aware of

the requirements found in the CMS regulations and promulgated policies consistent with these

regulations by requiring potential beneficiaries’ consent prior to marketing the ISNPs to them.

       151. For example, slide 12 of a September 2015 PowerPoint presentation by Optum

clearly states that CMS requires consent to contact potential enrollees:




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       152. In addition, Section 8, page 178 of the Training Book makes clear that “[c]ompliance

with the Medicare Marketing Guidelines” (which are now codified in the regulations outlined

above) is required. The Training Book states that the UnitedHealth Nursing Home Plan “is filed

as a Medicare Advantage Plan with the Centers for Medicare and Medicaid Services, and is thus

subject to all provisions included in the guidance.” Id. It continues, “Compliance with these

requirements is non-negotiable; failure to comply will result in disciplinary action up to, and

including, termination.” Id. The Training Book claims that the Medicare Marketing Guidelines

(now codified in the regulations) were “created to ensure that aggressive, misleading or fraudulent

activities do not occur with this vulnerable population” and are “direct and prescriptive in terms

of what can and can’t be done….” Id. at Section 8, page 178.

       153. The UnitedHealth Defendants’ Training Book also specifically underscores the

importance of “educat[ing] [the Business Department of the nursing facility] on personal health

information (PHI) regulations (i.e. ensure they understand the difference between providing

information on UHC members vs. non-members.).” Id. at Section 3, Page 48.



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       154. Over and over again, the Training Book clearly explains the required consent needed

in order for its employees to market the INSPs to potential beneficiaries not currently enrolled in

another UnitedHealth plan.

       155. For example, the Training Book cites Sections 70.2 through 70.5.2A of the Medicare

Marketing Guidelines and Policy SAO – 105 as the applicable consent to contact requirements.

The Training Book mandates:

               A resident or their responsible party’s (RP) written consent to contact
               is required prior to any outreach. No conversations about the plan
               can occur without one of the following:
               •   The resident or RP approaches the sales professional (SAM,
                   SIM, SAC, etc.) or places a call to the plan or one of the
                   individuals operating in a sales capacity. In these cases, the e-
                   outreach should be documented in bConnected (the date, venue
                   and circumstances around the contact.)
               •   The resident or RP completes a business reply card (BRC),
                   Authorization for Disclosure of Contact Information (ADCI or
                   former MIPPA) or other CMS approved consent to contact form.
               •   The resident is confirmed to be a member of a UnitedHealthcare
                   product.
                   o In these cases, the member and RP information should be
                     collected and sent to sales operations, for entry into the
                     bConnected system. Notification of the availability of the
                     UHCNHP will be down (sic) through a central location, and
                     outreach may be made by the sales professional.

Id. at Section 8, Page 179.

       156. The Training Book also states, “It is important to note that SNF staff can’t ‘give’ the

plan leads or in any way collect [consent to contact forms] with the intent to distribute to the plan.”

Id. at Section 8, Page 181.

       157. The Training Book acknowledges that “[w]ithout leads, there can be no

enrollments.” Id. at Section 6, Page 92. It further encourages the sales personnel to develop strong




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relationships with the facility staffs as “[t]he level of lead generation can indicate the status of the

relationship.” Id. at Section 7, page 166.

        158. The Training Book further explains:

                Every interaction we have with potential members and their RPs is guided
                by CMS regulations known as MIPPA. MIPPA is the Medicare
                Improvement Act for Patients and Providers Act of 2008. It determines how
                we are able to communicate with a potential member or their RP.

                Medicare recipients are considered to be a vulnerable population and CMS
                regulations restrict us from soliciting without consent. Many of these
                guidelines are designed to protect seniors.

                It is not permitted to walk up to someone, introduce ourselves and ask them
                if they’d like to hear about our plan. In order for us to speak about the plan,
                we require authorization or consent to contact. There are multiple ways for
                us to obtain this consent.

Id. at Section 6, Page 94.

        159. Again and again, the Training Book describes the four permissible ways to obtain

consent: (1) the resident or responsible party can complete a business reply card (“BRC”)

expressing interest; (2) the interested party may complete an Authorization for Disclosure of

Contact Information (“ADCI”) form; (3) the resident or responsible party can reach out directly to

the account manager; and (4) agents may contact residents who are already UnitedHealthcare

members to cross-sell the Special Needs Plans. Id. at Section 6, Page 95.

        160. The Training Book later repeats these compliant ways to obtain leads:

                •   Leads are released compliantly by:
                    o MIPPA/ADCI forms
                    o Lead card/BRC
                    o Cross sell/member
                    o Call in/inbound call

Id. at Section 6, Pages 116-17.

        161. Employees of the UnitedHealth Defendants were required to input all leads for new

membership into bConnected, their internal software system. Id. at Section 6, Page 92. All of the


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employees had their own login to bConnected. The UnitedHealth Defendants switched to a

different system called Salesforce in 2018.

       162. The Training Book explains, “We document our interactions through bConnected to

demonstrate how a lead was compliantly received and worked. This protects the consumer and

the agent.” Id. at Section 6, Page 116. The Training Book continues, “All interactions must

operate within the compliance parameters expressed in the Medicare marketing guidelines.” Id.

   D. UnitedHealth Policies Regarding Implementing ISNPs at Facilities

       163. In addition to clear policies requiring consent to contact potential enrollees, the

UnitedHealth Defendants also promulgated clear policies regarding growing business at newly

contracted nursing homes.

       164. For example, the Training Book suggests “having a facility perform a routine census

review [to] help make certain that the valuable resource of the UHC ISNP is offered to everyone

who is eligible.” Id. at Section 6, Page 100. However, the Training Book states, “Due to MIPPA

regulations, the SNF staff cannot share this information with you but it can help guide them when

informing residents and RPs about the availability of our plan.” Id.

       165. The Training Book also acknowledges the limitations on what the SNFs could do on

the plan’s behalf, including the prohibition on “steer[ing] an undecided resident or RP into a

particular plan by recommending the plan.” Id. at Section 8, Page 182. Similarly, in the Did You

Know Campaign? training materials from September 2015, Defendants state, “Facility does not

sell, but educates families on new option.”

       166. The census review process typically involves the Business Office of the skilled

nursing facility.   The Training Book describes how to “turn” the Business Office “into a

champion”:




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                The Business Office can help by identifying UnitedHealthcare
                members and providing responsible party information. The
                Business Office Manager is typically the individual who is
                contacted for help with a quarterly census review.
                   o Educate them on the compliant way to conduct a census
                     review
                   o Gain commitment to approach this as a process
                The Business Office is typically knowledgeable on those that are
                newly Medicaid approved or in the spend-down process. If they
                aren’t, it can open the door for a possible education opportunity.

Id. at Section 3, Page 48.

       167. Slide 18 of the September 2015 PowerPoint presentation by Optum also describes

the appropriate way for a nursing home to conduct a census review:




       168. In another section discussing the implementation process, the Training Book states

that “[a]ll interactions with potential partners” must be “documented in Salesforce.” Id. at Section

10, Page 201.




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       169. Another document prepared by the UnitedHealth Defendants clearly states:




   E. UnitedHealth Defendants’ Illegal Marketing and Solicitation of Beneficiaries

       170. Despite these clear policies and the UnitedHealth Defendants’ knowledge of the

strict Medicare marketing regulations and prohibitions in the AKS, the UnitedHealth Defendants’

sales efforts in practice violated these policies and regulations, leading to the enrollment of

Medicare beneficiaries, including Medicaid members, who were illegally solicited by the

UnitedHealth Defendants.

       171. When Relator first returned to working for the UnitedHealth Defendants in 2015,

the sales practices were consistent with CMS marketing regulations and the UnitedHealth

Defendants’ policies.

       172. Their primary method of marketing the ISNPs was to sit at a table in a common area

of the nursing facility and wait for a potential beneficiary or responsible party to initiate contact.

They were prohibited from marketing the plans directly to potential beneficiaries or responsible

parties until the potential beneficiary signed an authorization form or business reply card.

       173. The UnitedHealth Defendants’ sales team, however, struggled using this approach.

       174. The atmosphere and sales tactics completely changed in 2016, when James Rodgers

took over as the Director of Sales for Georgia, Alabama, and Florida.



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         175. Rodgers and other members of the sales management team set such unrealistic sales

goals that the salespeople were unable to meet these using legal, appropriate marketing tactics.

         176. Instead, James Rodgers directed his sales team to engage in sales and marketing

tactics without regard for the CMS marketing regulations and the AKS and to focus only on

enrolling as many people as possible into the ISNPs.

         177. In one of his very first meetings with Relator and other members of the sales team,

Rodgers declared that he did not care how they made their numbers, “as long as you make me look

good.”

         178. Rodgers constantly called and texted his sales team, pressuring them about the

number of enrollments they had secured.

         179. Rodgers instructed the salespeople to target Medicaid patients because then the

individuals would not be required to pay for their premiums.

         180. When Toni Ivey, a former Optum sales account manager, did not meet her numbers,

Rodgers fired her in November 2017, to set an example to the rest of the staff.

         181. On Mondays, Wednesdays, and Fridays, Rodgers organized “stand-up calls” with

the sales team during which he would walk through a PowerPoint presentation and discuss which

salespeople were producing and what they planned to do to drive their enrollment numbers.

Participants on these calls included Vice President James John Louise in New York, Relator, and

the Sales Account Managers.

         182. When a new nursing home was considering contracting with the UnitedHealth

Defendants, Rodgers instructed his sales team to set up a meeting with the key decision-makers of

the nursing facility. During the meeting, Rodgers would tell senior leadership at the nursing

facility that the UnitedHealth Defendants needed 40% penetration (i.e., enrollments from 40% of




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the members of the nursing home facility during the first three months) and twenty returned

Business Reply Cards, or else the UnitedHealth Defendants would not contract with the nursing

facility to provide the ISNP.

         183. The terminology used by Rodgers and other sales personnel working on behalf of

Defendants was that the Defendants would not “go live” with the facility’s contract without the

facility providing the requisite number of referrals. Thus, the UnitedHealth Defendants expressly

conditioned something of value – the opportunity to be part of the UnitedHealth ISNP provider

network and obtain additional payments such as incentive payments and implementation payments

– in exchange for the SNFs’ referral of their residents to the UnitedHealth Defendants.

         184. The 40% penetration figure was a well-known sales target for the UnitedHealth

Defendants. At a National Sales Conference on January 11, 2017, SPJ Consulting made a

presentation called, “From Commitment to Execution: Sales Implementation Manager (SIM)

Summit Workshop.” The stated objective for the Workshop was to “provide OPTUM SIMs with

a common methodology and tools to have 70% of new homes achieve 40% penetration within 90

days.”

         185. The Training Book reiterates this expectation, “Implementation strives to enroll 40%

of the membership within the first 3 months.” Training Book, Section 10, Page 206.

         186. Thus, Defendants conditioned the opportunity for the facility to participate in the

ISNP and obtain the additional revenue and incentive payments (which constitutes a form of

remuneration) on the facility’s willingness to engage in marketing and referral activities on

Defendants’ behalf.

         187. Following the meeting with the key decision-makers, Rodgers instructed Relator

and/or the Sales Account Manager to meet separately with key personnel at the nursing home, such




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as the Activities Director, Social Services Director, or Business Office Manager, to obtain

referrals.

        188. Rodgers instructed the sales team to offer free food or other items of value to the

key decision-maker at the nursing home. This free food and other items of value constituted

improper remuneration under the AKS. The sales team would put these charges on their corporate

credit cards, and they were always reimbursed without any questions from the corporate office.

        189. In exchange for the free food or other free items and the possibility of contracting

with the UnitedHealth Defendants, Rodgers and other sales personnel would instruct the nursing

home to provide a list of Medicare and Medicaid patients at their facility. This list contained

protected health information (PHI) for which, in most instances, the UnitedHealth Defendants did

not have the patients’ authorization to receive.

        190.   In addition, Rodgers and other sales personnel would also request and receive from

the nursing homes copies of the patients’ face sheets. The face sheets contained the patients’ PHI

and most private information, including for example, the patients’ name, picture, age, date of birth,

social security number, address, room number, Medicare number, Medicaid number, phone

number, diagnoses, advanced directive information, admission date, physician(s), insurance

carrier, and most importantly for the UnitedHealth Defendants, the patients’ responsible party and

their contact information.

        191. In most instances, neither the patient nor their responsible party would have any idea

that the nursing home had improperly provided this information to the UnitedHealth Defendants

in exchange for the opportunity to contract with the UnitedHealth Defendants, secure additional

funding, and obtain the services of a dedicated Optum nurse practitioner and also in exchange for

the free food and other items provided.




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          192. Instead, the UnitedHealth Defendants’ Sales Account Managers and Sales

Implementation Managers would then use this PHI and additional information from the nursing

home to improperly directly solicit patients and their responsible parties for its ISNP without first

obtaining their consent.

          193. Once they reached the patients or their family members using these deceptive

marketing practices, they would have the patient or responsible party family member fill out the

authorization card after the fact. Rodgers and others instructed Relators and other sales personnel

responsible for obtaining these signed cards to direct the patients or their responsible parties to

leave the date section of the forms blank since oftentimes these were obtained after Defendants

had illegally made unsolicited contact to market the ISNPs. Relator has examples of undated

authorization forms consistent with Rodgers’ direction.

          194. Authorization cards completed after the deceptive marketing practices already

occurred were knowingly made or caused to be made by UnitedHealth Defendants for the purpose

of concealing the deceptive marketing practices and are material to the resulting false or fraudulent

claims.

          195. In certain nursing homes, the UnitedHealth Defendants would deceptively instruct

the nursing home to agree to include an Authorization for Disclosure of Contact Information form

permitting the nursing home to share the patient’s information to the UnitedHealth Defendants in

the packet of materials completed upon admission to the nursing home. The form does not disclose

the financial interest of the nursing home in having its patients enroll in the UnitedHealth

Defendants’ Special Needs Nursing Plans.

          196. Even more, in certain situations, the UnitedHealth Defendants directed the SNFs to

do their bidding instead – having the SNFs themselves market UnitedHealth’s ISNP in direct




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violation of federal regulations and the UnitedHealth Defendants’ own policies prohibiting

provider steerage.

        197. Rodgers instructed his sales team to take the information they needed from the face

sheets obtained from the nursing homes and then discard the face sheets.

        198. Cognizant of the illegal nature of their conduct, Rodgers instructed his team not to

use the term “face sheets,” and he did not discuss this practice in writing. Instead, during the sales

implementation calls held every Tuesday and the stand-up calls on Mondays, Wednesdays, and

Fridays, which involved salespeople from Alabama, Florida, and Georgia, Rodgers would ask his

sales personnel whether they obtained the “sales lists.” Participants on these calls, including the

Sales Account Managers and Sales Implementation Managers, understood this to be Rodgers’

instruction to obtain PHI without the patients’ consent and use this information to improperly

solicit potential beneficiaries.

        199. The UnitedHealth Defendants’ employees were instructed not to mention face sheets

in their entries in bConnected.

        200. After Toni Ivey’s termination in November 2017, her emails were forwarded to

Rodgers. Included in these emails were communications between Ivey and the nursing homes,

pursuant to Rodgers’ sales instructions, that discussed obtaining face sheets. Rodgers was aware

that this practice was occurring at his instruction. Thus, the UnitedHealth Defendants were aware

in November 2017 (at the latest) that it violated its contract with CMS and had an obligation to

report such violations and return funds that constituted an overpayment.

        201. The UnitedHealth Defendants’ illegal sales tactics were rampant throughout the state

of Georgia.




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       202. Relator also has reason to believe the UnitedHealth Defendants’ improper

solicitation of Medicare and Medicaid patients occurred in areas outside of James Rodgers’ sales

territory. James Rodgers’ supervisor, James John Louise, put enormous pressure on Rodgers and

set unreasonable sales goals that could only be met through improper marketing. In addition to

Rodgers, Louise was the supervisor for Sales Directors in New York and New Jersey. Relator has

reason to believe the UnitedHealth Defendants’ sales personnel in New York and New Jersey also

improperly solicited Medicare and Medicaid patients and/or improperly obtained the patients’ PHI.

Rodgers and Louise replaced much of the sales personnel in Georgia with acquaintances from New

York and New Jersey with sales backgrounds, whom they felt were more aggressive at “selling”

the UnitedHealth Defendants’ ISNPs.

   F. UnitedHealth Defendants’ Anti-Kickback Violations

       203. When a Medicare Advantage plan follows the Medicare regulations governing

marketing, there is no offer of remuneration and no requirement for referrals, and thus there is no

violation of the AKS.

       204. At his initial meeting with the SNF decision-makers, Rodgers, however, would

educate the facilities as to how they could maximize reimbursements from UnitedHealth

Defendants’ ISNPs, including emphasizing that the more residents that were signed up, the more

money the SNF could be paid by the UnitedHealth Defendants.

       205. Moreover, the UnitedHealth Defendants not only openly promoted the financial

benefits of its services to the SNFs—including free gifts, free food, the benefit of a free NP or PA

(resulting in fewer hospitalizations, and thus lower costs to the SNF), payment of healthcare costs

normally borne by the SNF, the opportunity to bill UnitedHealth for services that are not

reimbursed by traditional Medicare, a capitated monthly payment for each enrollee, and the

UnitedHealth Defendants’ various incentive payments outlined above—but the Defendants also


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made those benefits contingent upon the SNF participating in the UnitedHealth Defendants’ illegal

marketing efforts and meeting a quota of enrollees, which was expressly presented to the SNF

decision-makers by Rodgers at their initial meeting.

       206. Thus, Defendants offered to provide and provided remuneration, that is, the

opportunity to participate in the UnitedHealth Defendants’ provider network, to induce the Skilled

Nursing Facilities to steer and refer their Medicare residents to the ISNPs.

       207. Relator personally observed Rodgers communicating this requirement and the 40%

penetration target to Skilled Nursing Facilities.

       208. Moreover, Relator was aware of facilities at which the UnitedHealth Defendants

either refused to “go live” i.e., refused to go forward with the contract, or delayed “going live”

after the facility did not provide the requisite number of referrals.

       209. Relator was also aware of facilities that refused to engage in this illegal enrollment

scheme and thus did not have the opportunity to join the UnitedHealth provider network.

       210. The SNFs, incentivized to meet the quota and reap the rewards of having an ISNP

contract with UnitedHealth, and at UnitedHealth’s request, gave UnitedHealth access to its

residents’ PHI, including specifically identifying which residents were Medicare and/or Medicaid

beneficiaries, thereby giving the UnitedHealth Defendants the opportunity to mine this PHI for

potential referrals and make direct contact with those residents, in violation of the Medicare

regulations and the AKS.

       211. Furthermore, at times, the SNFs themselves directly solicited the patients and

steered them to the UnitedHealth Defendants’ ISNP, thereby increasing the payments received by

the SNF.




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       212. A second type of kickback took the form of implementation payments.               The

UnitedHealth Defendants paid many SNFs implementation payments if the facilities successfully

completed the UnitedHealth Defendants’ referral expectations, including assisting with the illegal

marketing of the ISNPs and engaging in lead generation activities.

       213. At the direction of Rodgers and Network Director Tim Wilkes, Relator personally

delivered checks worth between $1,200 - $3,500, which Rodgers and Wilkes told Relator were

bonus payments to the facilities that went above and beyond to help UnitedHealth meet their goals

in terms of ISNP enrollments. Relator witnessed how this occurred after Rodgers and Wilkes had

communicated to the facilities their clear expectations about the number of leads and enrollments

that needed to be completed within a set period of time.

       214. Relator understood these bonuses were approved by Laura Thomas, Rodgers’

supervisor.

       215. By way of example, Relator personally delivered one of these bonus checks to

Riverview Health & Rehabilitation Center in Savannah, Georgia since the facility was too far away

for Rodgers or Wilkes to travel to deliver the check themselves.      This payment constituted a

kickback from the UnitedHealth Defendants in exchange for the referral of patients that were

covered under Medicare Part C.

       216. Relator also personally observed Vice President James John Louise in New York,

Rodgers, and Wilkes discussing facilities that were not providing enough referrals and discussing

ways to provide the facilities with implementation payments or other payments to convince them

to refer more patients.

       217. A third category of kickbacks involved incentive payments to the facilities in

exchange for referrals. To further sweeten the ISNP deal, the UnitedHealth Defendants also made




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incentive payments “to promote collaboration” or work the Optum model through which the

UnitedHealth Defendants “rewarded” high-performing facilities by making payments on a per

member per month “PMPM” basis.

         218. These incentive payments, described in detail above in paragraphs 142 – 148, took

the form of the Clinical Administrative Fee, Dividend Savings Plan, Premium Dividend Plan, and

the Shared Savings Plan.

         219. Relator overheard Optum sales personnel talk about rewarding facilities that referred

more patients or worked the Optum model (i.e., kept medical costs low by not sending patients to

the hospital), with more advantageous contract terms such as increasing the components of these

incentive plans.

         220. This quid pro quo of the UnitedHealth Defendants offering remuneration including

the capitated payments and opportunity to contract, the free meals, the implementation payments,

and the incentive payments in exchange for referrals by the SNFs constitutes violations of the

AKS.

         221. All claims resulting from these unlawful kickbacks are tainted, and thus false,

including claims to Medicare for capitated payments for patients enrolled under a tainted referral,

and claims to Medicaid for those patients’ Medicare Advantage premiums.

   G. Specific Examples of UnitedHealth Defendants’ Illegal Conduct

   1. Oceanside Nursing & Rehab

         222. By way of representative example, the UnitedHealth Defendants entered into a

contract with Oceanside Nursing & Rehab located at 77 Van Horne Avenue, Tybee Island, Georgia

31328.

         223. On November 9, 2017, from 1:00 – 2:30 p.m., Tim Wilkes, the Network Director

with UnitedHealthcare, set up a meeting with Oceanside Nursing and Rehab and Savannah Beach


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Nursing Home, two nursing homes located in close proximity.            According to the meeting

invitation, present for the meeting from the UnitedHealth Defendants were Tim Wilkes; Rhonda

Ligon (UnitedHealthcare Director of Nursing); Jean Fortgang (Optum Nurse Practitioner); James

Rodgers; and Sheila Curley (UnitedHealthcare Network Manager).              According to Wilkes’

invitation, the nursing facility’s Business Office Manager, Director of Nursing, Social Services

Director, MDS, and Admissions staff planned to attend.

       224. In advance of the meeting, both of the nursing homes provided census information

and an eligibility analysis showing the number of patients at each nursing home that were eligible

for UnitedHealthcare Nursing Home Plans based on their enrollment in Part A and Part B and

whether the patients had end stage renal disease.

       225. The calendar invitation specifically references “breakout sessions with the

individual team members” as part of the meeting agenda.

       226. During the breakout session, Relator heard James Rodgers tell the nursing homes

the UnitedHealth Defendants would need 40% penetration in order to obtain the contract

UnitedHealth was offering them, including the incentive payments and other remuneration

contained therein. In other words, the SNF would only obtain the lucrative contract and other

incentive payments from the UnitedHealth Defendants if it could deliver on the 40% target.

Rodgers instructed the nursing home personnel to place a list of patients in the orange folder

provided by the UnitedHealth Defendants in order for the UnitedHealth Defendants’ employees to

improperly target the patients or their responsible parties.

       227. At 2:30, 2:44, 2:46, and 3:18 p.m., on November 9, 2017, shortly following the

conclusion of the meeting at 2:30 p.m. and at the direction of Rodgers and the sales team, Kurtis

Jackson, Director of Clinical Evaluations at Oceanside Nursing and Rehab, provided to the




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UnitedHealth Defendants’ sales team lists of all of the current residents at the facility, including

HIPAA-protected information such as their age, admission date, Medicare numbers, and Medicaid

numbers.

       228. Kurtis Jackson was Relator’s point of contact at Oceanside Nursing and Rehab. In

exchange for Jackson’s and the nursing home’s cooperation, Rodgers instructed Relator to take

Jackson out to eat. Jackson chose Olive Garden as the location for the free meal. Relator paid for

Jackson’s meal, and Relator submitted the receipt for reimbursement.             The UnitedHealth

Defendants’ reimbursed Relator for this expense without any question.

       229. Following the November 2017 kickoff meeting, the UnitedHealth Defendants

illegally and improperly obtained the face sheets for at least 10 residents, which were printed out

on February 23, 2018, March 10, 2018, and April 26, 2018, and placed in the orange folder. The

face sheets contained the HIPAA-protected PHI of these patients, including their pictures, names,

dates of birth, social security numbers, phone numbers, Medicare and Medicaid numbers, medical

histories, admission dates, diagnoses, and providers.

       230. The UnitedHealth Defendants used this information to improperly directly solicit

nursing home patients and as a result, enrolled many of these patients in the UnitedHealth ISNP.

       231. According to an internal document seen by Relator, at least 16 patients at Oceanside

Nursing & Rehab enrolled in the UnitedHealth Defendants’ ISNP following the UnitedHealth

Defendants’ illegal marketing and solicitation scheme.        The UnitedHealth Defendants had

wrongfully obtained the face sheets for many of these patients. See Exhibit 1.

       232. Relator has firsthand knowledge that these 16 patients were illegally recruited and

enrolled into the UnitedHealth ISNP as a result of the UnitedHealth Defendants’ illegal conduct.




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The UnitedHealth Defendants submitted claims to Medicare for the capitated payments associated

with these 16 patients’ care starting between the months of February – March 2018.

       233. Once the UnitedHealth Defendants improperly enrolled these patients in the ISNPs,

the UnitedHealth Defendants received monthly capitated payments for these patients: Patient Q.A.

(East Wing Room 102-1); Patient K.S. (East Wing Room 102-2); Patient P. W. (East Wing Room

104-2); Patient K.H. (East Wing Room 105-1); Patient J.H. (East Wing Room 106-1); Patient J.A.

(East Wing Room 114-2); Patient B.H. (East Wing Room 115-1); Patient S.K. (East Wing Room

115-2); Patient H.B. Jr. (West Wing Room 205-2); Patient C.G. (West Wing Room 207-1); Patient

W.C.W. (West Wing Room 208-1); Patient D.P. (West Wing Room 208-2); Patient C.W. (West

Wing Room 209-2); Patient D.F. (West Wing Room 214-2); Patient F.T. (West Wing Room 220-

1); and Patient J.B. (West Wing Room 221-1).

       234. Relator also has documentary proof that the following Medicare patients were also

illegally enrolled in the UnitedHealth ISNP: Patient P.B. (West Wing Room 220-2) starting in or

around May 2018) and Patient C.B. (East Wing Room 111-1) starting in or around May 2018).

See Exhibit 2.

       235. The UnitedHealth Defendants also submitted claims to Georgia Medicaid for

payment of the Medicaid members’ premiums who were illegally enrolled.

   2. Green Acres Health & Rehab

       236. By way of further example, the UnitedHealth Defendants entered into a contract

with Green Acres Health & Rehab located at 313 Allen Memorial Drive SW, Milledgeville,

Georgia 31061.

       237. In order to obtain the opportunity to contract with the UnitedHealth Defendants,

employees of the UnitedHealth Defendants, including James Rodgers, instructed Green Acres




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Health & Rehab to provide patient lists and patients’ PHI in the orange folder provided by the

UnitedHealth Defendants so that the UnitedHealth Defendants’ employees could improperly target

the patients or their responsible parties.

        238. Pursuant to these instructions, employees of Green Acres Health & Rehab provided

the UnitedHealth Defendants’ employees with Active Resident Reimbursement Tables, which

contain the HIPAA-protected patients’ names, Medicare enrollment, Medicare and Medicaid

numbers, insurance information, and admission date.

        239. Pursuant to these instructions, employees of Green Acres Health & Rehab also

provided the UnitedHealth Defendants’ employees with a list of Clients by Location, which

contains the HIPAA-protected patients’ names, bed number, gender, and admission date.

        240. Pursuant to these instructions, employees of Green Acres Health & Rehab also

provided the UnitedHealth Defendants’ employees with the face sheet for at least one patient,

patient B.H. The face sheet contains the HIPAA-protected patient’s name, date of birth, social

security number, Medicare and Medicaid number, other insurance information, responsible party

information, contact information, and information about the patient’s admission.

        241. The UnitedHealth Defendants used this information to improperly directly solicit

nursing home patients and as a result, enrolled patients in the UnitedHealth Special Needs Nursing

Home Plans.

        242. Relator has firsthand knowledge of a representative example of a patient illegally

enrolled into the ISNP at Green Acres – Patient B.H. from Room No. GA M107A was illegally

enrolled in or around January 2018. See Exhibit 3.

        243. The UnitedHealth Defendants submitted claims to Medicare for the capitated

payments associated with these illegally enrolled patients’ care.




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       244. The UnitedHealth Defendants also submitted claims to Georgia Medicaid for

payment of the Medicaid members’ premiums.

   3. Bolingreen Health & Rehabilitation

       245. By way of further example, the UnitedHealth Defendants entered into a contract

with Bolingreen Health & Rehabilitation located at 529 Bolingreen Drive, Macon, Georgia 31210.

       246. In order to obtain the opportunity to contract with the UnitedHealth Defendants,

employees of the UnitedHealth Defendants, including James Rodgers, instructed Bolingreen

Health & Rehabilitation to provide patient lists and patients’ HIPAA-protected PHI in the orange

folder provided by the UnitedHealth Defendants so that the UnitedHealth Defendants’ employees

could improperly target the patients or their responsible parties.

       247. Pursuant to these instructions, employees of Bolingreen Health & Rehabilitation

provided the UnitedHealth Defendants’ employees with the HIPAA-protected PHI of its residents.

       248. The UnitedHealth Defendants used this information to improperly directly solicit

nursing home patients and as a result, enrolled patients in the UnitedHealth ISNP..

       249. The UnitedHealth Defendants submitted claims to Medicare for the capitated

payments associated with these illegally enrolled patients’ care.

       250. The UnitedHealth Defendants also submitted claims to Georgia Medicaid for

payment of the Medicaid members’ premiums.

   4. Westbury Health & Rehab

       251. By way of further example, the UnitedHealth Defendants entered into a contract

with Westbury Health & Rehab located at 1420 Milstead Road, Conyers, Georgia 30012.

       252. In order to obtain the opportunity to contract with the UnitedHealth Defendants,

employees of the UnitedHealth Defendants, including James Rodgers, instructed Westbury Health




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& Rehab to provide patient lists and patients’ HIPAA-protected PHI in the orange folder provided

by the UnitedHealth Defendants so that the UnitedHealth Defendants’ employees could

improperly target the patients or their responsible parties.

       253. Pursuant to these instructions, employees of Westbury Health & Rehab provided the

UnitedHealth Defendants’ employees with screenshots from the face sheets of its patients,

including their HIPAA-protected insurance information, social security number, Medicare and

Medicaid numbers, date of birth, and pharmacy.

       254. Pursuant to these instructions, employees of Westbury Health & Rehab also

provided the UnitedHealth Defendants’ employees with a Patient Information Summary document

for Patient L.W. that contains PHI, including his HIPAA-protected address, admission date,

insurance information, social security number, Medicare number, date of birth, diagnosis, hospital

admission dates, physician’s name, responsible party, and their contact information.

       255. The UnitedHealth Defendants used this information to improperly directly solicit

nursing home patients and as a result, illegally enrolled patients in the UnitedHealth Special Needs

Nursing Home Plans.

       256. The UnitedHealth Defendants submitted claims to Medicare for the capitated

payments associated with these illegally enrolled patients’ care.

       257. The UnitedHealth Defendants also submitted claims to Georgia Medicaid for

payment of the Medicaid members’ premiums.

   5. Riverview Health and Rehabilitation Center

       258. By way of further example, the UnitedHealth Defendants entered into a contract

with Riverview Health and Rehabilitation Center located at 6711 La Roche Avenue, Savannah,

Georgia 31406.




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        259. In order to obtain the opportunity to contract with the UnitedHealth Defendants,

employees of the UnitedHealth Defendants, including James Rodgers, instructed Stan Adams, Jr.,

the Resident Services Coordinator, and others at Riverview Health and Rehabilitation Center to

provide patient lists and patients’ HIPAA-protected PHI in the orange folder provided by the

UnitedHealth Defendants so that the UnitedHealth Defendants’ employees could improperly target

the patients or their responsible parties.

        260. Employees of the UnitedHealth Defendants, including James Rodgers, also

convinced Riverview Health and Rehabilitation Center to include the authorization form as part of

the packet of information provided to the residents upon admission. Employees of Riverview

Health and Rehabilitation Center did not explain to the residents what they were signing or how

they were authorizing plans, such as the UnitedHealth Defendants, to target them for direct

solicitation.

        261. Relator was instructed to provide employees of Riverview Health and Rehabilitation

Center, including Stan Adams, Admissions Director Cheryl Godwin, and Social Workers Wanda

Hobson and Maurice Jones, with free food and free Starbucks coffee in exchange for their

cooperation. Relator also took them offsite to provide them free meals. The UnitedHealth

Defendants reimbursed Relator for all of these expenses without any question.

        262. Pursuant to these instructions, employees of Riverview Health and Rehabilitation

Center provided the UnitedHealth Defendants’ employees with face sheets of its patients,

including each patient’s HIPAA-protected name, date of birth, admission date, other information

related to the admission, social security number, Medicare and Medicaid numbers, responsible

party information, their contact information, attending physician, pharmacy, and insurance




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information. The face sheets were printed out on the following dates and left in the orange folder:

March 8, 2018; March 28, 2018; April 12, 2018; and May 18, 2018.

       263. The UnitedHealth Defendants used this information to improperly directly solicit

nursing home patients and as a result, enrolled patients in the UnitedHealth ISNP.

       264. The UnitedHealth Defendants submitted claims to Medicare for the capitated

payments associated with these illegally enrolled patients’ care.

       265. The UnitedHealth Defendants also submitted claims to Georgia Medicaid for

payment of the Medicaid members’ premiums.

   6. Northeast Atlanta Health & Rehab

       266. By way of further example, the UnitedHealth Defendants entered into a contract

with Northeast Atlanta Health & Rehab located at 1500 S. Johnson Ferry Road NE, Atlanta,

Georgia 30319.

       267. In order to obtain the opportunity to contract with the UnitedHealth Defendants,

employees of the UnitedHealth Defendants, including James Rodgers, instructed employees at

Northeast Atlanta Health & Rehab to provide patient lists and patients’ PHI in the orange folder

provided by the UnitedHealth Defendants so that the UnitedHealth Defendants’ employees could

improperly target the patients or their responsible parties.

       268. Pursuant to these instructions, employees of Northeast Atlanta Health & Rehab

provided the UnitedHealth Defendants’ employees with face sheets of its patients, including each

patient’s HIPAA-protected name, picture (in some instances), date of birth, admission date, other

information related to the admission, social security number, Medicare and Medicaid numbers,

responsible party information, their contact information, attending physician, pharmacy, insurance




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information, and diagnoses. The face sheets were printed out on February 14, 2017, and February

18, 2017, and left in the orange folder.

        269. The UnitedHealth Defendants used this information to improperly directly solicit

nursing home patients and as a result, enrolled patients in the UnitedHealth Special Needs Nursing

Home Plans.

        270. The UnitedHealth Defendants submitted claims to Medicare for the capitated

payments associated with these illegally enrolled patients’ care.

        271. The UnitedHealth Defendants also submitted claims to Georgia Medicaid for

payment of the Medicaid members’ premiums.

    7. The Place at Martinez

        272. By way of further example, the UnitedHealth Defendants entered into a contract

with The Place at Martinez located at 409 Pleasant Home Road, Augusta, Georgia 30907.

        273. In order to obtain the opportunity to contract with the UnitedHealth Defendants,

employees of the UnitedHealth Defendants, including James Rodgers, instructed employees at The

Place at Martinez to provide patient lists and patients’ PHI in the orange folder provided by the

UnitedHealth Defendants so that the UnitedHealth Defendants’ employees could improperly target

the patients or their responsible parties.

        274. Pursuant to these instructions, employees at the Place at Martinez provided a print

out of the list of patients in the A Station and the B Station. The list contains the names of the

nursing home patients.

        275. Pursuant to these instructions, an employee at The Place at Martinez also drafted a

list of the nursing home’s patients by hand. This list contains the following HIPAA-protected

information for each patient: name, room number, Medicare and Medicaid numbers, responsible




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parties, and their contact information.     Certain patients are assigned to employees of the

UnitedHealth Defendants including “John”, which refers to UnitedHealth Sales Account Manager

John King, and “Toni”, which refers to former UnitedHealth Sales Account Manager Toni Ivey.

       276. Pursuant to these instructions, an employee at The Place at Martinez also drafted

other lists of the nursing home’s patients by hand and dated June 23, 2017, and July 17, 2017.

These lists contain the following HIPAA-protected information for each patient: name, date of

birth, Medicare and Medicaid numbers, responsible parties, and their contact information. The

July 17, 2017 list also contains admission date information. Certain patients are assigned to

employees of the UnitedHealth Defendants including “John”, which refers to UnitedHealth Sales

Account Manager John King, “Toni”, which refers to former UnitedHealth Sales Account

Manager Toni Ivey, and “Lori”, which refers to UnitedHealth Sales Account Manager Lori Glover.

       277. One of the patients included on this list is Patient A.H. Her responsible party signed

a Scope of Sales Appointment Confirmation Form and an Authorization for Disclosure of Health

Information form for her on July 31, 2017. However, the SNF provided her HIPAA-protected

information on both the June 23, 2017 and July 17, 2017 lists, weeks before her responsible party

authorized her information to be shared by the SNF to the UnitedHealth Defendants. Relator has

firsthand knowledge that Defendants illegally enrolled Patient A.H. into the ISNP in or around

July 2017, causing the government to pay capitated payments to the UnitedHealth Defendants for

her care. See Exhibit 4.

       278. The UnitedHealth Defendants used this information to improperly directly solicit

nursing home patients and as a result, enrolled patients in the UnitedHealth ISNP.

       279. The UnitedHealth Defendants submitted claims to Medicare for the capitated

payments associated with these illegally enrolled patients’ care.




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        280. The UnitedHealth Defendants also submitted claims to Georgia Medicaid for

payment of the Medicaid members’ premiums.

    8. The Place at Pooler

        281. By way of further example, the UnitedHealth Defendants entered into a contract

with The Place at Pooler located at 508 S. Rodgers Street, Pooler, Georgia 31322.

        282. In order to obtain the opportunity to contract with the UnitedHealth Defendants,

employees of the UnitedHealth Defendants, including James Rodgers, instructed employees at The

Place at Pooler to provide patient lists and patients’ PHI in the orange folder provided by the

UnitedHealth Defendants so that the UnitedHealth Defendants’ employees could improperly target

the patients or their responsible parties.

        283. Pursuant to these instructions, an employee at The Place at Pooler also drafted a

document entitled “Optum Care Referral List.” This list contains three groups of nursing home

residents: “Resident’s (sic) that can sign with no representative”; “Resident with No POA

however, family contact required and recommended”; and “Resident with POA or Responsible

Party required.” The lists include the patients’ names and bed numbers.

        284. At the bottom of the document, the employee writes, “The face sheets with

demographic information (diagnoses, responsible party as well [] billing) are attached. Please

contact the responsible party for all resident[] prior to signing any resident up for services.”

        285. The UnitedHealth Defendants used the information provided to improperly directly

solicit nursing home patients and as a result, enrolled patients in the UnitedHealth ISNP .

        286. The UnitedHealth Defendants submitted claims to Medicare for the capitated

payments associated with these illegally enrolled patients’ care.




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       287. The UnitedHealth Defendants also submitted claims to Georgia Medicaid for

payment of the Medicaid members’ premiums.

   9. Etowah Landing Care and Rehabilitation Center

       288. By way of further example, the UnitedHealth Defendants entered into a contract

with Etowah Landing Care and Rehabilitation Center located at 809 S. Broad Street, Rome,

Georgia 30161.

       289. In order to obtain the opportunity to contract with the UnitedHealth Defendants,

employees of the UnitedHealth Defendants, including James Rodgers, instructed employees at

Etowah Landing Care and Rehabilitation Center to provide patient lists and patients’ PHI in the

orange folder provided by the UnitedHealth Defendants so that the UnitedHealth Defendants’

employees could improperly target the patients or their responsible parties.

       290. Pursuant to these instructions, employees of Etowah Landing Care and

Rehabilitation Center provided the UnitedHealth Defendants’ employees with face sheets of its

patients, including each patient’s HIPAA-protected name, picture, date of birth, admission date,

other information related to the admission, social security number, Medicare and Medicaid

numbers, responsible party information, their contact information, attending physician, pharmacy,

insurance information, and diagnoses.

       291. Pursuant to these instructions, employees of Etowah Landing Care and

Rehabilitation Center also provided the UnitedHealth Defendants’ employees with at least two

patient lists, printed on February 6, 2018, and February 7, 2018. These lists include the patients’

HIPAA-protected names, room number, hospice status, and some of their insurance information.

       292. The UnitedHealth Defendants used this information to improperly directly solicit

nursing home patients and as a result, enrolled patients in the UnitedHealth ISNP.




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       293. The UnitedHealth Defendants submitted claims to Medicare for the capitated

payments associated with these illegally enrolled patients’ care.

       294. The UnitedHealth Defendants also submitted claims to Georgia Medicaid for

payment of the Medicaid members’ premiums.

   10. Fairburn Health Care Center

       295. By way of further example, the UnitedHealth Defendants entered into a contract

with Fairburn Health Care Center located at 178 W. Campbellton Street, Fairburn, Georgia 30213.

       296. In order to obtain the opportunity to contract with the UnitedHealth Defendants,

employees of the UnitedHealth Defendants, including James Rodgers, instructed employees at

Fairburn Health Care Center to provide patient lists and patients’ PHI in the orange folder provided

by the UnitedHealth Defendants so that the UnitedHealth Defendants’ employees could

improperly target the patients or their responsible parties.

       297. Sarah West, the Business Officer Manager at Fairburn Health Care Center, and

Amatulah Ibraahiym, a social worker, were Relator’s point of contact at the facility. In exchange

for their cooperation, Rodgers instructed Relator to provide food, coffee, and other items for the

staff at Fairburn Health Care Center. The UnitedHealth Defendants also sponsored balloons and

other items for the Event Coordinator. Relator submitted receipts for these reimbursements. The

UnitedHealth Defendants’ reimbursed Relator for these expenses without any question.

       298. Pursuant to these instructions, Sarah West printed out at least two Resident

Information Reports. The reports contain lists of all of the patients and the following HIPAA-

protected information for each of the patients: room number, admission date, insurance, social

security number, Medicare and Medicaid numbers, and date of birth.




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        299. Pursuant to these instructions, employees of Fairburn Health Care Center also

provided the UnitedHealth Defendants’ employees with face sheets of its patients, including each

patient’s HIPAA-protected name, picture (in some instances), date of birth, admission date, other

information related to the admission, social security number, Medicare and Medicaid numbers,

allergies, advanced directives, power of attorney information, responsible party information, their

contact information, attending physician, pharmacy, insurance information, and diagnoses.

        300. The UnitedHealth Defendants used this information to improperly directly solicit

nursing home patients and as a result, enrolled patients in the UnitedHealth ISNP.

        301. The UnitedHealth Defendants submitted claims to Medicare for the capitated

payments associated with these illegally enrolled patients’ care.

        302. The UnitedHealth Defendants also submitted claims to Georgia Medicaid for

payment of the Medicaid members’ premiums.

    11. East Lake Arbor

        303. By way of further example, the UnitedHealth Defendants entered into a contract

with East Lake Arbor located at 304 5th Avenue, Decatur, Georgia 30030.

        304. In order to obtain the opportunity to contract with the UnitedHealth Defendants,

employees of the UnitedHealth Defendants, including James Rodgers, instructed employees at

East Lake Arbor to provide patient lists and patients’ PHI in the orange folder provided by the

UnitedHealth Defendants so that the UnitedHealth Defendants’ employees could improperly target

the patients or their responsible parties.

        305. Pursuant to these instructions, employees of East Lake Arbor also provided the

UnitedHealth Defendants’ employees with face sheets of its patients, including each patient’s

HIPAA-protected name, picture, date of birth, admission date, other information related to the




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admission, information about qualifying hospital stays, social security number, Medicare and

Medicaid numbers, allergies, advanced directives, power of attorney information, responsible

party information, their contact information, attending physician, insurance information, and

diagnoses.

        306. The UnitedHealth Defendants used this information to improperly directly solicit

nursing home patients and as a result, enrolled patients in the UnitedHealth ISNP .

        307. The UnitedHealth Defendants submitted claims to Medicare for the capitated

payments associated with these illegally enrolled patients’ care.

        308. The UnitedHealth Defendants also submitted claims to Georgia Medicaid for

payment of the Medicaid members’ premiums.

    12. Amara Healthcare

        309. By way of further example, the UnitedHealth Defendants entered into a contract

with Amara Healthcare located at 2021 Scott Road, Augusta, Georgia 30906.

        310. In order to obtain the opportunity to contract with the UnitedHealth Defendants,

employees of the UnitedHealth Defendants, including James Rodgers, instructed employees at

Amara Healthcare to provide patient lists and patients’ PHI in the orange folder provided by the

UnitedHealth Defendants so that the UnitedHealth Defendants’ employees could improperly target

the patients or their responsible parties.

        311. Pursuant to these instructions, employees of Amara Healthcare also provided the

UnitedHealth Defendants’ employees with face sheets of its patients, including each patient’s

HIPAA-protected name, admission date, a code for “admitted from”, address, date of birth, social

security number, height, weight, primary physician, diagnoses, hospital stay(s), rehab potential,

immunization record, insurance information, other service providers including their pharmacy,




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dentist, hospital, podiatrist, responsible party, and their contact information. These were printed

on June 19, 2017.

       312. The UnitedHealth Defendants used this information to improperly directly solicit

nursing home patients and as a result, enrolled patients in the UnitedHealth ISNP .

       313. The UnitedHealth Defendants submitted claims to Medicare for the capitated

payments associated with these illegally enrolled patients’ care.

       314. The UnitedHealth Defendants also submitted claims to Georgia Medicaid for

payment of the Medicaid members’ premiums.

   13. Jonesboro Nursing and Rehabilitation Center LLC

       315. By way of further example, the UnitedHealth Defendants entered into a contract

with Jonesboro Nursing and Rehabilitation Center LLC located at 2650 GA-138, Jonesboro,

Georgia 30236.

       316. In order to obtain the opportunity to contract with the UnitedHealth Defendants,

employees of the UnitedHealth Defendants, including James Rodgers, instructed employees at

Jonesboro Nursing and Rehabilitation Center LLC to provide patient lists and patients’ PHI in the

orange folder provided by the UnitedHealth Defendants so that the UnitedHealth Defendants’

employees could improperly target the patients or their responsible parties.

       317. On December 19, 2017, the UnitedHealth Defendants met with Jonesboro Nursing

& Rehab LLC (as it did on a regular basis with all facilities) to discuss the facility’s performance.

Notably, the facility’s enrollments had recently dipped according to the Partner Business Review

PowerPoint presentation James Rodgers and Tim Wilkes presented to the facility. Relator was

present and observed firsthand this meeting. See Exhibit 5.




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       318. According to the Partner Business Review, in July 2017, the facility had 31 residents

enrolled in the ISNP for which UnitedHealth received monthly capitated payments under the

Medicare Part C program. By October 2017, the number of residents enrolled in the ISNP had

dropped to 27 patients. During the December 19, 2017 meeting, Rodgers and Wilkes pushed the

facility to refer more patients to make up this difference.

       319. Relators observed Rodgers and Wilkes stressing how the facility could earn more

money for these patients than under traditional Medicare since the ISNP did not require a 3-day

qualifying stay in the hospital.

       320. Relator also observed Rodgers and Wilkes stress with the facility that by increasing

the membership the facility would better be poised to absorb hospital admissions since the

Admits/K would be easier to hit with additional enrolled patients.

       321. Rodgers specifically instructed the facility’s leadership that they would need to

provide lists of patients that they could refer to the ISNP.

       322. Pursuant to these instructions, employees of Jonesboro Nursing and Rehabilitation

Center LLC provided at least two census lists printed on the very same day, December 19, 2017.

These include each patient’s name, room number, and other abbreviated information, including

whether they were Medicaid patients.

       323. Pursuant to these instructions, employees of Jonesboro Nursing and Rehabilitation

Center LLC also provided the UnitedHealth Defendants’ employees with face sheets of its patients,

including each patient’s HIPAA-protected name, admission date, a code for “admitted from”, date

of birth, primary physician, diagnoses, hospital stay(s), vaccination records, billing information,

including Medicare and Medicaid numbers, responsible party, and their contact information.

These were printed on December 29, 2017, January 12, 2018, and January 26, 2018.




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       324. For example, the responsible party for patient L.T. signed a Business Reply Card on

February 1, 2018. However, the nursing home, pursuant to Rodger’s instructions, provided her

face sheet on January 26, 2018, prior to obtaining the Business Reply Card giving consent for the

nursing home to share this information with the UnitedHealth Defendants. See Exhibit 5.

       325. The UnitedHealth Defendants used this information to improperly directly solicit

nursing home patients and as a result, enrolled patients in the UnitedHealth ISNP.

       326. The UnitedHealth Defendants submitted claims to Medicare for the capitated

payments associated with these illegally enrolled patients’ care.

       327. The UnitedHealth Defendants also submitted claims to Georgia Medicaid for

payment of the Medicaid members’ premiums.

   14. Abercorn Rehabilitation Center

       328. By way of further example, the UnitedHealth Defendants entered into a contract

with Abercorn Rehabilitation Center located at 11800 Abercorn Street, Savannah, Georgia 31419.

       329. In order to obtain the opportunity to contract with the UnitedHealth Defendants,

employees of the UnitedHealth Defendants, including James Rodgers, instructed employees at

Abercorn Rehabilitation Center to provide patient lists and patients’ PHI in the orange folder

provided by the UnitedHealth Defendants so that the UnitedHealth Defendants’ employees could

improperly target the patients or their responsible parties.

       330. Pursuant to these instructions, employees of Abercorn Rehabilitation Center

provided census lists dated March 21, 2018, April 9, 2018, April 19, 2018, June 7, 2018, and June

27, 2018. These include each patient’s name, room number, and payor.

       331. Pursuant to these instructions, employees of Abercorn Rehabilitation Center also

provided the UnitedHealth Defendants’ employees with face sheets of its patients, including each




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patient’s HIPAA-protected picture, name, admission date, “admitted from” information, date of

birth, primary physician, diagnoses, hospital stay(s), Medicare and Medicaid numbers, responsible

party, their contact information, and advanced directive information. These were printed out

throughout March, April, May, and June 2018.

       332. The UnitedHealth Defendants used this information to improperly directly solicit

nursing home patients and as a result, enrolled patients in the UnitedHealth ISNP .

       333. For example, the responsible party for patient D.G. signed an authorization form and

a scope of sales appointment confirmation form both dated March 22, 2018. However, the nursing

home, pursuant to the UnitedHealth Defendants’ instructions, printed out her face sheet on March

7, 2018, prior to obtaining her responsible party’s consent.

       334. According to the OptumCare UnitedHealthcare Nursing Home Plan Active

Members List, the UnitedHealth Defendants enrolled at least twenty patients at this facility in the

UnitedHealth Special Needs Nursing Home Plans, including at least seventeen patients whose face

sheets they improperly obtained. Thus, Relator has firsthand knowledge that UnitedHealth

submitted monthly claims for capitated payments associated with these patients’ care.

       335. Further, Relator has firsthand knowledge and evidence that UnitedHealth illegally

enrolled Patient S.G. (Room 011-A) into the ISNP and obtained tainted capitated payments for her

care starting in or around April 2018. See Exhibit 6.

       336. Likewise, has firsthand knowledge and evidence that UnitedHealth illegally enrolled

Patient D.G. (Room 027-B) into the ISNP and obtained tainted capitated payments for her care

starting in or around April 2018. See Exhibit 7.

       337. The UnitedHealth Defendants submitted claims to Medicare for the capitated

payments associated with these illegally enrolled patients’ care.




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         338. The UnitedHealth Defendants also submitted claims to Georgia Medicaid for

payment of the Medicaid members’ premiums.

   15. Rosemont at Stone Mountain

         339. By way of further example, the UnitedHealth Defendants entered into a contract

with Rosemont at Stone Mountain located at 5160 Springview Avenue, Stone Mountain, Georgia

30083.

         340. In order to obtain the opportunity to contract with the UnitedHealth Defendants,

employees of the UnitedHealth Defendants, including James Rodgers, instructed employees at

Jonesboro Nursing and Rehabilitation Center LLC to provide patient lists and patients’ PHI in the

orange folder provided by the UnitedHealth Defendants so that the UnitedHealth Defendants’

employees could improperly target the patients or their responsible parties.

         341. Pursuant to these instructions, Debra Watkins, Business Office Manager, provided

a Resident Information Report printed on January 26, 2017. The Resident Information Report

contains HIPAA-protected PHI, including each patient’s name, room number, admission date,

insurance information (including Medicaid enrollment and hospice status), social security number,

Medicare and Medicaid numbers, and date of birth.

         342. Further pursuant to these instructions, Jeffrey Williams, Admissions Coordinator,

provided Midnight Census Worksheets printed on August 31, 2017, and October 26, 2017. These

worksheets include each patient’s name, bed number, and Medicaid enrollment.

         343. Further pursuant to these instructions, employees of Rosemont at Stone Mountain

provided the UnitedHealth Defendants’ employees with face sheets of patients, including each

patient’s HIPAA-protected picture, room number, name, admission date, “admitted from”

information, date of birth, social security number, attending physician, diagnoses, insurance




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information, including Medicare and Medicaid numbers, pharmacy, address, responsible party,

and their contact information.

       344. Jeffrey Williams was Relator’s primary point of contact at this facility. In exchange

for his cooperation, Rodgers instructed Relator to provide food, coffee, and other items to Mr.

Williams. Relator submitted receipts for these reimbursements. The UnitedHealth Defendants

reimbursed Relator for these expenses without any question. Not only did Mr. Williams and

Rosemont at Stone Mountain provide the UnitedHealth Defendants with face sheets for its patients,

but Mr. Williams also improperly made phone calls to residents and responsible parties on behalf

of the UnitedHealth Defendants marketing their ISNP.

       345. The UnitedHealth Defendants used this information to improperly directly solicit

nursing home patients and as a result, enrolled patients in the UnitedHealth ISNP.

       346. The UnitedHealth Defendants submitted claims to Medicare for the capitated

payments associated with these illegally enrolled patients’ care.

       347. The UnitedHealth Defendants also submitted claims to Georgia Medicaid for

payment of the Medicaid members’ premiums.

   16. Traditions Health and Rehabilitation Center

       348. By way of further example, the UnitedHealth Defendants entered into a contract

with Traditions Health and Rehabilitation Center located at 2816 Evans Mill Road, Lithonia,

Georgia 30058.

       349. In order to obtain the opportunity to contract with the UnitedHealth Defendants,

employees of the UnitedHealth Defendants, including James Rodgers, instructed employees at

Traditions Health and Rehabilitation Center to provide patient lists and patients’ PHI in the orange




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folder provided by the UnitedHealth Defendants so that the UnitedHealth Defendants’ employees

could improperly target the patients or their responsible parties.

       350. Pursuant to these instructions, employees of Traditions Health and Rehabilitation

Center provided a Resident Directory list printed on May 23, 2018. The Resident Directory list

includes each patient’s name and room number. See Exhibit 8.

       351. Pursuant to these instructions, employees of Traditions Health and Rehabilitation

Center also provided the UnitedHealth Defendants’ employees with face sheets of its patients,

many of which included each patient’s HIPAA-protected name, picture, address, date of birth,

social security number, “admitted from” information, admission date, responsible party

information and their contact information, attending physician, diagnoses, and insurance

information. These were printed on May 23, 2018, June 14, 2018, and June 19, 2018. See Exhibits

9, 10, and 11.

       352. The UnitedHealth Defendants used this information to improperly directly solicit

nursing home patients and as a result, enrolled patients in the UnitedHealth ISNP.

       353. By way of example, Relator has firsthand knowledge and documentary evidence

establishing that the UnitedHealth Defendants enrolled the following patients shortly after their

illegal marketing and solicitation efforts in May – June 2018: Patient J.G. (enrolled in the ISNP

effective 6/1/2018); Patient A.J. (enrolled in the ISNP effective June 1, 2018); and patient P.W.

(enrolled in the ISNP effective June 1, 2018). See Exhibit 12.

       354. The UnitedHealth Defendants submitted claims to Medicare for the capitated

payments associated with these illegally enrolled patients’ care.

       355. The UnitedHealth Defendants also submitted claims to Georgia Medicaid for

payment of the Medicaid members’ premiums.




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   H. Defendants Knew Their Illegal Marketing and Kickback Schemes Were Unlawful

        356. The UnitedHealth Defendants’ own Training Book states, “Due to MIPPA

regulations, the SNF cannot share information [from a census review] with you but it can help

guide them when informing residents and RPs about the availability of our plan.” ISNP and IESNP

Agent Training Book, Sales Account Manager at 100.

        357. The Training Book states, “Lead generation is an essential step in keeping our

membership intact. Without leads, there can be no enrollments.” Training Book at 92.

        358. “Every interaction we have with potential members and their RPs is guided by CMS

regulations known as MIPPA. MIPPA is the Medicare Improvement Act for Patients and

Providers Act of 2008. It determines how we are able to communicate with a potential member

or their RP. Medicare recipients are considered to be a vulnerable population and CMS regulations

restrict us from soliciting without consent. Many of these guidelines are designed to protect

seniors.” Training Book at 94.

        359. “The MMGs (Medicare Marketing Guidelines) were created to ensure that

aggressive, misleading or fraudulent activities do not occur with this vulnerable population. The

guidelines are direct and prescriptive in terms of what can and can’t be done…” Training Book at

178.

        360. “A resident or their responsible party’s (RP) written consent to contact is required

prior to any outreach. No conversations about the plan can occur without one of the following:

           •   The resident or RP approaches the sales professional (SAM, SIM SAC, etc.) or
               places a call to the plan or one of the individuals operating in a sales capacity. …

           •   The resident or RP completes a business reply card (BRC). Authorization for
               Disclosure of Contact Information (ADCI or former MIPPA) or other CMS
               approved consent to contact form.

           •   The resident is confirmed to be a member of a UnitedHealthcare Product.



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Training Book at 179.

          361. Thus, Defendants knew their illegal marketing scheme was unlawful.

          362. Furthermore, Defendants’ instructions, including James Rodgers’ instructions, not

to date the consent to contact forms obtained after the unsolicited contact was made and his

instruction not to refer to the face sheets illegally obtained by name are further evidence of

Defendants’ knowledge of the illegality of their scheme.

          363. In addition, the sophisticated healthcare professionals working at the UnitedHealth

Defendants also had knowledge of the requirements of the AKS.

          364. This is why the Training Book makes clear that although there are many financial

incentives for a SNF to want its members to sign up for the UnitedHealth Defendants’ ISNPs, “[i]t

is important that we never say or imply that a SNF be guaranteed to make more money with

Optum,” id. at Section 5, Page 45.

   I. Claims for Medicare Part C Capitated Payments and Premiums Paid by Medicaid were
   False

          365. Defendants submitted and caused the submission of claims for payment to Medicare

and Medicaid that were false claims because they were tainted by the foregoing kickback and

illegal marketing schemes.

          366. False claims for the capitated payments were submitted and caused to be submitted

to Medicare Part C by the UnitedHealth Defendants for illegally enrolled patients, including the

representative patients identified by name and facility above, as a direct and proximate result of

the marketing violations and kickbacks provided by the UnitedHealth Defendants as alleged

herein.

          367.   Compliance with the marketing regulations and legal requirements related to

marketing ISNPs is material to the government’s payment decision. These regulations and legal



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requirements go to the very essence of the Medicare bargain – safeguarding vulnerable patients

from being illegally recruited into Part C plan in the first place is essential; what triggers the

payment of the capitated payment claim and the corresponding Medicaid premium is the patient’s

enrollment in the ISNP, an enrollment that would not have occurred without the illegal marketing.

       368. Furthermore, noncompliance with the AKS “‘is a bar to the receipt of payments”, a

violation ‘can form the basis of liability under the [FCA] for past Medicare payments attributable

to the violations.” United States ex rel. Heller v. Guardian Pharmacy of Atlanta, LLC, Civil Action

No. 1:18-cv-03728-SDG at 82 (N.D. Ga. Sept. 30, 2023) (citing Bingham v. HCA, Inc., 783 F.

App’x 868, 871 (11th Cir. 2019). See also United States ex rel. McNutt v. Haleyville Medical

Supplies, 423 F.3d 1256, 1257-59 (11th Cir. 2015) (holding that an Anti-Kickback Statute

violation establishes the falsity of a corresponding claim for government reimbursement).

       369. Additionally, Congress enacted the 2010 amendment to the AKS to establish that

claims are false as a matter of law when they include items resulting from a violation of the AKS.

See also 42 U.S.C. §1320a-7b(g) (“[A] claim that includes items or services resulting from a

violation of [the AKS] constitutes a false or fraudulent claim.”). The Defendants submitted and

caused to be submitted claims that were false because they were tainted by the unlawful marketing

and kickback scheme described above, and they included services resulting from violations of the

AKS. See 42 U.S.C. §1320a-7b(g).

       370. A violation of the FCA also “arises if a defendant ‘certifies compliance with laws

and regulations concerning proper practices for medical providers… when in fact those claims are

for services that were provided in violation of those rules.” Id. (citing Barker ex rel. United States

v. Columbus Reg’l Healthcare Sys., Inc., 977 F. Supp. 2d 1341, 1344 (M.D. Ga. 2013) (citing

McNutt, 432 F.3d at 1259-60).




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        371.    The Chief Executive Officers or Chief Financial Officers of the UnitedHealth

Defendants, or someone with delegated authority to sign on their behalf, implicitly and expressed

certified “that each enrollee for whom the organization is requesting payment is validly enrolled

in an MA plan offered by the organization and the information relied upon by CMS in determining

payment … is accurate, complete, and truthful.” See 42 C.F.R. § 422.504(l). Furthermore, they

certified in their contract with CMS to provide services in compliance with the AKS.

        372.    The Medicare Part C program relied on the truth of those certifications when they

paid UnitedHealth’s claims for capitated payments. But its certifications were false when the

enrollees were illegally marketed to and enrolled in the ISNP and when the UnitedHealth

Defendants provided illegal remuneration to the referring Skilled Nursing Facilities in violation of

the AKS.

J. The UnitedHealth Defendants Fraudulently Induced CMS to Enter into Part C Contracts.

        373.    MAOs, like UnitedHealth Defendants, must resubmit their Medicare Advantage

bids and complete applications to the government annually to participate in the Part C program.

42 U.S.C. § 422.504(a)(10) (annual); 42 C.F.R. § 422.501(c) (MAO must “fully complete all parts

of a certified application”).

        374.    Thus, every year, the UnitedHealth Defendants were required to submit an

application to the government in which the UnitedHealth Defendants made certifications and

promises regarding adherence to all marketing regulations and guidance, and compliance with

federal laws designed to prevent or ameliorate fraud, waste, and abuse, including, but not limited

to the FCA and the AKS. See 4.5 Part C Application Certification, Section 3 (“I agree that if my

organization meets the minimum qualifications, is Medicare-approved, and my organization enters

into a Part C contract with CMS, I will abide by the requirements contained in Section 3 of this




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Application and provide the services outlined in my application.”); see also Section 3.10.1

(“Applicant agrees to adhere to all marketing requirements in 422.2260 through 422.2276 and

Medicare Communications and Marketing Guidelines.”).

        375.    The UnitedHealth Defendants had to make such annual certifications in order to

qualify for their Part C contract with the government and to begin receiving capitated payments.

        376.    The government relied on the information supplied in UnitedHealth Defendants’

application in determining whether the UnitedHealth Defendants could participate in the Part C

program. 42 C.F.R. § 422.502(a)(1) (“With the exception of evaluations conducted under

paragraph (b), of this section, CMS evaluates an application for an MA contract or for a Specialized

MA Plan for Special Needs Individuals solely on the basis of information contained in the

application itself and any additional information that CMS obtains through other means such as

on-site visits”).

        377.    The UnitedHealth Defendants made false certifications and promises to the

government through their annual applications in order participate in Part C. More specifically, as

is explained throughout this Amended Complaint, the UnitedHealth Defendants knew its promises

and certifications related to compliance with federal laws (including the AKS and FCA) and

Medicare’s marketing regulations were false and fraudulent.

        378.    In reality, the UnitedHealth Defendants knew of its systemic and ongoing violations

of these provisions and made these promises and certifications to the government in their annual

applications with no present intent to comply with the same.

        379.    The UnitedHealth Defendants’ false certifications deceived the government into

entering into contracts it would not have entered, and into paying claims that the government would

not have been paid.




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        380.    Had the government known of the UnitedHealth Defendant’s false certifications

and promises that it would comply with the FCA, the AKS, and Medicare’s marketing rules and

regulations, the government would not have agreed to the contract with the UnitedHealth

Defendants and would not have paid UnitedHealth Defendants monies thereunder. Thus, the

UnitedHealth Defendants’ yearly contract with CMS was a result of fraudulent inducement.

                                   COUNT ONE
                     SCHEME TO SUBMIT FRAUDULENT CLAIMS
                             (31 U.S.C. § 3729(a)(1)(A))

        381. All allegations set forth in this Complaint are incorporated into this Count as if fully

set forth herein.

        382. By virtue of the acts alleged herein, Defendants have knowingly presented or caused

to be presented false or fraudulent claims for payment or approval in violation of 31 U.S.C. §

3729(a)(1)(A), by submitting claims for Medicare Part C payments for beneficiaries enrolled as

the result of illegal marketing tactics and whose PHI was wrongfully obtained in exchange for

remuneration provided to facilities by Defendants.

        383. By virtue of the acts alleged herein, ill-gotten gains from the aforementioned

presentation of false or fraudulent claims for payment or approval have been distributed to the

UnitedHealth Defendants.

        384. As a result of UnitedHealth Defendants’ acts, the United States has been damaged,

and continues to be damaged, in a substantial amount to be determined at trial, and the United

States is entitled to penalties for each and every violation of 31 U.S.C. § 3729 arising from

Defendants’ unlawful conduct as described herein.

                                      COUNT TWO
                             FALSE RECORDS FOR PAYMENT
                                (31 U.S.C. § 3729(a)(1)(B))




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        385. All allegations set forth in this Complaint are incorporated into this Count as if fully

set forth herein.

        386. By virtue of the acts alleged herein, Defendants made or used false records or

statements representing that Defendants were compliant with the regulations related to the

marketing of Medicare Advantage plans, HIPAA, and the AKS. All such false records or

statements were knowingly made and material to the false or fraudulent claims paid or approved

by the Government.

        387. Defendants thus knowingly made, used, or caused to be made or used, false records

or statements material to false or fraudulent claims paid or approved by the Government.

        388. As a result of Defendants’ acts, the United States has been damaged, and continues

to be damaged, in a substantial amount to be determined at trial, and the United States is entitled

to penalties for each and every violation of 31 U.S.C. § 3729 arising from Defendants’ unlawful

conduct as described herein.

                                     COUNT THREE
                               FRAUDULENT INDUCEMENT
                                    (31 U.S.C. § 3729)

        389. All allegations set forth in this Complaint are incorporated in this Count as if fully

set forth herein.

        390. The Defendants fraudulently induced the government to enter into annual Part C

contracts with the UnitedHealth Defendants.

        391. As set forth herein, the UnitedHealth Defendants made false and fraudulent

misrepresentations and promises in its applications starting in 2017 at the latest in order to

participate in Medicare Part C. Namely, the UnitedHealth Defendants falsely certified compliance

with Medicare’s marketing rules and federal law, including, the FCA and AKS. These

certifications and promises were false at the time they were made.


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        392. The UnitedHealth Defendants knew that it was required to make such certifications

and promises in order to participate in Part C and that its annual application would have been

rejected by the government if it failed to make such certifications and promises.

        393. Every request for payment submitted by the UnitedHealth Defendants pursuant to

these fraudulently induced contracts are false and tainted due to UnitedHealth Defendants’ fraud

in the inducement.

        394. As a result of the UnitedHealth Defendants’ acts. the United States has been

damaged, and continues to be damaged, in a substantial amount to be determined at trial, and the

United States is entitled to penalties for each and every violation of 31 U.S.C. § 3729 arising from

the UnitedHealth Defendants’ unlawful conduct as described herein.

                                        COUNT FOUR
                                   REVERSE FCA CLAIM
                                  (31 U.S.C. § 3729(a)(1)(G))

        395. All allegations set forth in this Complaint are incorporated in this Count as if fully

set forth herein.

        396. As a Part C Medicare participant, the Defendants had an obligation to report and

return Medicare overpayments within 60 days after the overpayments are identified. 42 U.S.C. §

1320a-7k.

        397. The payments that the Defendants received on account of the AKS violations and

violations of Medicare’s marketing rules described in this Amended Complaint, are overpayments

within the meaning of 42 U.S.C. § 1320a-7k.

        398. The Defendants have long had notice with respect to such overpayments and have

failed to report and return the same to the government within 60 days.

        399. As a result of Defendants’ acts, the United States has been damaged, and continues

to be damaged, in a substantial amount to be determined at trial, and the United States is entitled


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to penalties for each and every violation of 31 U.S.C. § 3729 arising from Defendants’ unlawful

conduct as described herein.

                                        COUNT FIVE
                                FALSE CLAIMS CONSPIRACY
                                  (31 U.S.C. § 3729(a)(1)(C))

        400. All allegations set forth in this Complaint are incorporated into this Count as if fully

set forth herein.

        401. Defendants entered into a conspiracy or conspiracies through their employees and

others to defraud the United States by submitting and obtaining approval and payment for false

and fraudulent claims for Medicare Part C payments.

        402. As a result of Defendants’ acts, the United States has been damaged, and continues

to be damaged, in a substantial amount to be determined at trial, and the United States is entitled

to penalties for each and every violation of 31 U.S.C. § 3729 arising from Defendants’ unlawful

conduct as described herein.

                                    COUNT SIX
                        GEORGIA FALSE MEDICAID CLAIMS ACT
                             (O.C.G.A. §§ 49-4-168, et seq.)

        403. All of the preceding allegations contained in this Complaint are hereby incorporated

by reference as if fully set forth herein.

        404. By virtue of the acts alleged herein, Defendants knowingly presented or caused to

be presented, false or fraudulent claims to the Georgia Medicaid Program for payment or approval

of Medicare Part C premiums for members improperly solicited by the UnitedHealth Defendants

and whose PHI was wrongfully obtained and for claims tainted by violations of the AKS.

        405. By virtue of the acts alleged herein, Defendants knowingly made, used, or caused to

be made or used, false records and statements, and omitted material facts, to induce the Georgia

Medicaid Program to approve and pay such false and fraudulent claims.


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          406. By virtue of the acts alleged herein, Defendants conspired to violate the Georgia

FMCA and to defraud the Georgia Medicaid Program by getting a false or fraudulent claim

allowed or paid.

          407. The Georgia Medicaid Program, unaware of the falsity of the records, statements

and claims made, used, presented, or caused to be made, used, or presented by Defendants, paid

and continues to pay Medicare Part C premiums for its members enrolled in the UnitedHealth

Defendants’ ISNP that would not be paid but for the acts and/or conduct of Defendants as alleged

herein.

          408. By reason of Defendants’ acts, the State of Georgia has been damaged, and continues

to be damaged, in a substantial amount to be determined at trial. Pursuant to O.C.G.A. § 49-4-

168.1(a), the State of Georgia is entitled to three times the amount of actual damages plus civil

penalties for each and every false or fraudulent claim, record, or statement made, used, presented,

or caused to be made, used, or presented by Defendants.

                                     PRAYER FOR RELIEF

          WHEREFORE, on each of these claims, Relator prays for judgment against Defendants:

          (a)    Awarding the United States treble damages sustained by it for each violation;

          (b)    Awarding the United States a maximum civil penalty for each violation;

          (c)    Awarding the State of Georgia treble damages sustained by it for each violation;

          (d)    Awarding the State of Georgia civil penalties for each violation;

          (e)    Awarding Relator the maximum amount allowed pursuant to 31 U.S.C. § 3730(d)

                 of the False Claims Act and O.C.G.A. § 49-4-168.2 of the Georgia False

                 Medicaid Claims Act of the proceeds of this action or any alternate remedy or the

                 settlement of any such claim;




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 (f)      Awarding Relator be awarded all costs and expenses of this action, including

          attorneys’ fees as provided by 31 U.S.C. § 3730(d), O.C.G.A. § 49-4-168.2, and

          any other applicable provision of the law;

 (g)      Awarding the plaintiffs pre- and post-judgment interest on the awards ordered

          herein; and

 (h)      Granting such other and further relief as the Court may deem to be just and

          proper.

                            DEMAND FOR JURY TRIAL

       Relator hereby demands a trial by jury as to all issues so triable.




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   Respectfully submitted this 30th day of July, 2024.

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